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 United States Bankruptcy Court for the:

                           DisfuQlOfado
                                    (State)
 Case number ~uknown):                                   Chapter 7                                                                    ❑ Check if this is an
                                                                                                                                        amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                        04/16

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



~. Debtor's name                                   e Resources. LLC



z. All other names debtor used
   in the last 8 years
   Include any assumed names,
   trade names, and doing business
   as names




s. Debtor's federal Employer               2 0_ 1          8   8    5    0 7 8
   Identification Number (EIN)



a. Debtor's address                        Principal place of business                               Mailing address, if different from principal place
                                                                                                     of business

                                           14610 West Cornell Place
                                           Number  Street                                             Number      Street


                                                                                                     P.O. Box

                                            Lakewood                     CO        80228
                                           City                          State     ZIP Code           City                        State        ZIP Code

                                                                                                      Location of principal assets, if different from
                                                                                                      principal place of business
                                           JEFFERSON
                                           County
                                                                                                      Number      Street



                                                                                                       Rullison                    CO      81635
                                                                                                      City                        State     ZIP Code



s. Debtor's website (URL)                  savageresources.com


s. Type of debtor                          0 Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                           ❑ Partnership (excluding LLP)
                                           ❑ Other. Specify:



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Debtor        Savage Resources, LLC                                                            Case number ~rn<~ow~>
              Name


                                      A. Check one:
~. Describe debtor's business
                                      ❑ Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                      ❑ Singie Asset Real Estate (as defined in 11 U.S.C. § 101(51 B))
                                      ❑ Railroad (as defined in 11 U.S.C. § 101(44))
                                      ❑ Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                      ❑ Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                      ❑ Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                      0 None of the above


                                      B. Check all that apply:

                                      ❑ Tax-exempt entity (as described in 26 U.S.C. § 501)
                                      ❑ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                        § 80a-3)
                                      ❑ Investment advisor (as defined in 15 U.S.C. § SOb-2(a)(11))


                                      C. NAICS (North American Industry Classification System)4-digit code that best describes debtor. See
                                         http:/lwww.uscourts.aovlfour-digit-national-association-naics-codes .
                                          2    1      1       1

s. Under which chapter of the         Check one:
   Bankruptcy Code is the
                                       x❑ Chapter 7
   debtor filing?
                                      ❑ Chapter 9
                                      ❑ Chapter 11. Check all that apply:
                                                           ❑ Debtor's aggregate noncontingent liquidated debts (excluding debts owed to
                                                             insiders or affiliates) are less than $2,566,050(amount subject to adjustment on
                                                             4/01/19 and every 3 years after that).
                                                           ❑ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51 D). If the
                                                             debtor is a small business debtor, attach the most recent balance sheet, statement
                                                             of operations, cash-flow statement, and federal income tax return or if all of these
                                                             documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

                                                           ❑ A plan is being filed with this petition.

                                                           ❑ Acceptances of the plan were solicited prepetition from one or more classes of
                                                             creditors, in accordance with 11 U.S.C. § 1126(b).

                                                           ❑ The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                             Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                             Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                             for Bankruptcy under Chapter 11 (Official Form 201 A) with this form.

                                                           ❑ The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                             12b-2.
                                      ❑ Chapter 12

s. Were prior bankruptcy cases        O No
   filed by or against the debtor
   within the last 8 years?           ❑ Yes. District                                   When                       Case number
                                                                                               MM/DD/YYYY
    If more than 2 cases, attach a
    separate list.                              District                                When                       Case number
                                                                                               MM/ DD/YYYY

~o. Are any bankruptcy cases          0 No
    pending or being filed by a
    business partner or an            ❑ Yes. Debtor                                                                Relationship
    affiliate of the debtor?                    District                                                           When
    List all cases. If more than 1,
    attach a separate Iist.                     Case number, if known

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  Debtor      Savage Resources, LLC                                                         Case number~rrknown~
              Name




  ~~. Why is the case filed in this   Check all that apply:
      district?
                                      0 Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                        immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                          district.

                                      ❑ A bankruptcy case concerning debtor's a~liate, general partner, or partnership is pending in this district.


  ~2. Does the debtor own or have     0 No
     possession of any real
                                      ❑Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
     property or personal property
     that needs immediate                       Why does the property need immediate attention? (Check al! that apply.)
     attention?
                                                ❑ It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety
                                                      What is the hazard?
                                                ❑ It needs to be physically secured or protected from the weather.

                                                ❑ It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                  attention (for example, livestock, seasonal goods, meat, dairy, produce, orsecurities-related
                                                  assets or other options).

                                                ❑ Other



                                                Where is the property?
                                                                            Number        Street



                                                                            City                                           State      ZIP Code


                                                Is the property insured?
                                                ❑ No
                                                ❑ Yes. Insurance agency

                                                          Contact name

                                                          Phone



 Statistical and administrative information
-


   ~s. Debtor's estimation of         Check one:
       available funds                0 Funds will be available for distribution to unsecured creditors.
                                      ❑ After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.


                                      0 1-49                             ❑ 1,000-5,000                             ❑ 25,001-50,000
   ~a. Estimated number of            ❑ 50-99                            ❑ 5,001-10,000                            ❑ 50,001-100,000
       creditors
                                      ❑ 100-199                          ❑ 10,001-25,000                           ❑ More than 100,000
                                      ❑ 200-999

                                      ❑   $0-$50,000                     0 $1,000,001-$10 million                  ❑   $500,000,001-$1 billion
   ~s. Estimated assets               ❑   $50,001-$100,000               ❑ $10,000,001-$50 million                 ❑   $1,000,000,001-$10 billion
                                      ❑   $100,001-$500,000              ❑ $50,000,001-$100 million                ❑   $10,000,000,001-$50 billion
                                      ❑   $500,001-$1 million            ❑ $100,000,001-$500 million               ❑   More than $50 billion




    O~cial Form B201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                               page 3
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Debtor         Savage Resources, LLC                                                                                                                                                                                                                                                            Case number
              Name
             .............................................................................................................................................................................................................................................................................................................................

                                                                                                                ❑ $0-$50,000                                                                                               ❑ $1,000,001-$10 million                                                                                                   ❑ $500,000,001-$1 billion
7s. Estimated liabilities                                                                                       ❑ $50,001-$100,000                                                                                         0 $10,000,001-$50 million                                                                                                  ❑ $1,000,000,001-$10 billion
                                                                                                                ❑ $100,001-$500,000                                                                                        ❑ $50,000,001-$100 million                                                                                                 ❑ $10,000,000,001-$50 billion
                                                                                                                ❑ $500,001-$1 million                                                                                      ❑ $100,000,001-$500 million                                                                                                ❑ More than $50 billion




           Request for Relief, Declaration, and Signatures


WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


17. Declaration and signature of                                                                                              The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
   authorized representative of
                                                                                                                               petition.
   debtor
                                                                                                                                   have been authorized to file this petition on behalf of the debtor.

                                                                                                                               have examined the information in this petition and have a reasonable belief that the information is true and
                                                                                                                              correct.


                                                                                                                     declare under penalty of perjury that the foregoing is true and correct.

                                                                                                                             Executed on 09/01/2016
                                                                                                                                                                         MM / DD I YYYY

                                                                                                                  X s/Marshall Savage                                                                                                                                                                                            Marshall Savage
                                                                                                                             Signature of authorized representative of debtor                                                                                                                                                  Printed name

                                                                                                                             Title President and Managing Member




~a. Signature of attorney                                                                                         x s/                                                                                                                                                                                                                               09/01/2016
                                                                                                                                                                                                                                                                                                                                Date
                                                                                                                                Signature of attorney for debtor                                                                                                                                                                                     MM   /DD /YYYY


                                                                                                                               Peter A. Cal
                                                                                                                              Printed name
                                                                                                                               Sherman &Howard L.L.C.
                                                                                                                              Firm name
                                                                                                                               633 17th Street, Suite 3000
                                                                                                                              Number                                      Street
                                                                                                                                Denver                                                                                                                                                                                                       CO              80202
                                                                                                                              City                                                                                                                                                                                                           State           ZIP Code

                                                                                                                              (303)297-2900                                                                                                                                                                                                   pcal@shermanhoward.com
                                                                                                                              Contact phone                                                                                                                                                                                                  Email address


                                                                                                                                27779                                                                                                                                                                                                        CO
                                                                                                                              Bar number                                                                                                                                                                                                     State




  Official Form 6201                                                                                                                    Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                                                                                                       page 4
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                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF COLORADO


In re:                                      )
                                                    Case No.
SAVAGE RESOURCES,LLC,                       )

                      Debtor.               )       Chapter 7


                      NOTES REGARDING DEBTOR'S SCHEDULES
                       AND STATEMENT OF FINANCIAL AFFAIRS


       The Schedule of Assets and Liabilities and the Statement of Financial Affairs("SOFA)
were prepared pursuant to 11 U.S.C. § 521 and Federal Rule of Bankruptcy Procedure 1007 by
management of Savage Resources, LLC and are unaudited. The Debtor's management has made
reasonable efforts to complete the Schedules and SOFA based on the information available. The
Debtor is uncertain as to the fair market value of certain of its assets.

        Pursuant to various oil and gas leases and related agreements, the Debtor holds funds that
belong to third parties and pays such funds to third parties in the ordinary course of business.
Such funds are held in trust and are not property ofthe Debtor. The Debtor has included such
parties on Schedule F out of an abundance of caution. Because such funds are not property of
the bankruptcy estate and any payments were made in the ordinary course of business, the
Debtor has not included transfers of those royalties in responding to SOFA Questions 3, 4, and
13. Certain lessors of oil and gas leases, as well as other contracting parties, may have recorded
the agreements or a memorandum of lease. Such parties may claim that they are secured
creditors.

        The Debtor has listed oil and gas leases in its Schedule G. Under Colorado law, such
leases maybe interests in real property and not leases or executory contracts. Certain of the
contracts listed in Schedule G may have expired or may have been modified or amended.




 Active/43590914.1
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Debtor name Savage Resources, LLC
United States Bankruptcy Court for the: Colofado

Case number (if known):


                                                                                                                                      ❑ Check if this is an
                                                                                                                                        amended filing


Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                     oars
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor's name and case number (if known).


                Income



 1. Gross revenue from business

    ❑ None

           Identify the beginning and ending dates of the debtor's fiscal year, which          Sources of revenue                   Gross revenue
           may be a calendar year                                                              Check all that apply                 (before deductions and
                                                                                                                                    exclusions)

          From the beginning of the                                                            ~ Operating a business
          fiscal year to filing date:      From 01/01!2016         to     Filing date                                               $ 424,477.95
                                                                                               ❑Other
                                                MMlDDlYYYY

          For prior year:                  From 01!01/2015         to      12/31/2015          ~ Operating a business
                                                                                                                                    $1,228,303.00
                                                MM1DD/YYYY                 MM/DDlYYYY          ~ Other

          For the year before that:        From 01/01/2014         tp      12/31/2014          Q Operating a business
                                                MM / DD / YYYY             MM / DD / YYYY                                           $ 3,229,835.00
                                                                                               ~ Other
                                                                                                                                   ~bc~s.,~-v~ ~~Y~ ~~~~

 2. Non-business revenue
    Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected
    from lawsuits, and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

    0 None

                                                                                               Description of sources of revenue    Gross revenue from each
                                                                                                                                    source
                                                                                                                                    (before deductions and
                                                                                                                                    exclusions)

           From the beginning of the
           fiscal year to filing date:      From                    to     Filing date
                                                   MM/DD/YYYY


           For prior year:                From                      to
                                                   MM/DD/YYYY               MM/DD/YYYY




           For the year before that:      From                      to
                                                   MM1DD/YYYY               MM/DD/YYYY




  Official Form 207                         Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                               page 1
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Debtor         Savage Resources, LLC                                                              Case number
               Name


              List Certain Transfers Made Before Filing for Bankruptcy

 3. Certain payments or transfers to creditors within 90 days before filing this case
    List payments ortransfers--including expense reimbursements—to any creditor, other than regular employee compensation, within 90
    days before filing this case unless the aggregate value of all property transferred to that creditor is less than $6,425.(This amount may be
    adjusted on 4/01/19 and every 3 years after that with respect to cases filed on or after the date of adjustment.)

     ❑ None

            Creditor's name and address                             Dates        Total amount or value          Reasons for payment or transfer
                                                                                                                                     ,
                                                                                                                Check a!F that appty
     3.1.
             Sherman &Howard L.L.C.                               06/02/16       $51,400.00                     ❑    Secured debt
            Creditor's name
                                                                                                                ❑    Unsecured loan repayments
             633 17th Street, Suite 3000
            Street                                                07/20!16                                      ❑    Suppliers or vendors
                                                                                                            0        Services
             Denver.                       CO           80202                                                   ❑
            City                          State        ZIP Code                                                      Other

     3.2.
             Trinity Petroleum Management LLC                     07/06/16       $22,535.00                     ❑    Secured debt
            Creditots name                                                                                      ❑    Unsecured loan repayments
             1660 Lincoln Street, Suite 2100
            street                                                07/09/16                                      ❑    Suppliers or vendors
                                                                                                            0 Services
             Denver                        CO           80265                                                   ❑
            City                          State        ZIP Coda                                                      Other

 4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
    List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or
    guaranteed or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than
    $6,425. (This amount may be adjusted on 4/01/19 and every 3 years after that with respect to cases filed on or after the date of adjustment.)
    Do not include any payments listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives;
    general partners of a partnership debtor and their relatives; a~liates of the debtor and insiders of such affiliates; and any managing agent of
    the debtor. 11 U.S.C. § 101(31).

     ❑ None

            Insider's name and address                              Dates        Total amounEor value           Reasons for payment or transfer
     4.L
             Marshall Savage                                      02/26/16      $ 27,973.20                 Mr. Savage intended to make an on-line
            Insider's name
             11710 N. Avondale Loop                                                                         payment to Sherman &Howard L.L.C. from

                                                                                                            See Attachment 1
             Hayden                        ID           83835
            City                          Stale        ZIP Code

            Relationship to debtor.


     4.2.

            Insiders name

            Street


            City                          Slate        ZIP Code

            Relationship to debtor




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Debtor                 Savage Resources, LLC                                                                    Case number
                       Name




 5. Repossessions,foreclosures, and returns
    List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor,
    sold at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.
     ❑ None
                Creditor's name and address                              Description of the property                                   Date               Value of property
     5.L


                Creditors name


                Street




                City                          Slate        ZIP Code

     5.1.


                Creditors name


                Street




                City                          Siata        ZIP Code


 s. Setoffs
     List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or othervvise took anything from an account of
     the debtor without permission or refused to make a payment at the debtor's direction from an account of the debtor because the debtor owed a debt.
     0 None
                 Creditor's name and address                               Description of the action creditor took                     Date action was       Amount
                                                                                                                                       taken


                 Crediiors name




                                                                         Last 4 digits of account number: XXXX—
                 City                          State        ZIP Code


                       Legal Actions or Assignments

  ~. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
     List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor
     was involved in any capacity—within 1 year before filing this case.

     ❑ None
        Case title.                                             Nature of case ''                       Court or agency's name and address '                Status of case

     ~~           coo     Af4arhmcnf 7                          Breach of Contract                     See Attachment 2                                    0 Pending
                                                                                                       Name
                                                                                                                                                            ❑ On appeal
                                                                                                        901 19th Street
                  Case number                                                                          Street                                               ❑Concluded


                   16-cv-1057                                                                          Denver                 CO               80294
                                                                                                       City                   State            ZIP Code


                 Case title                                                                              Court or agency's'name and address
                                                                                                                                                            ❑ Pending
         7.2.
                                                                                                                                                            ❑ On appeal
                                                                                                       Name
                                                                                                                                                            ❑ Concluded
                  Case number
                                                                                                       Street




                                                                                                       City                           State


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Debtor                    Savage Resources, LLC                                                                Case number
                          Name




    8. Assignments and receivership
           List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the
           hands of a receiver, custodian, or other court-appointed o~cer within 1 year before filing this case.
       0 None
                   Custodian's Dame and address '                         Description of the'property                          Value


                   Custodian's name
                                                                          Case title,                                          Court name and address
                   Si~eet
                                                                                                                              Name
                                                                          Case number
                   City                          Slate        ZIP Code                                                        Street


                                                                          Date of order orassignment
                                                                                                           -                 .City                State            ZIP Code



                         Certain Gifts and Charitable Contributions

    9. List all gifts or charitable contributions the debtor gave to a recipientwithin 2 years before filing this case un►ess the aggregate value
       of the gifts to that recipient is less than $1,000
           0 None
                    Recipients name and address                           Description ofthe gifts or contributions                     Dates given         Value


           9'~' Recipients name

                 Sheet



                  City                          State        ZIP Code

                    Recipients relationship to debtor




           9~2~ RecipienPs name

                  Street



                  City                          State        ZIP Code

                     Recipient's;relationship to debtor



                          Certain Losses

    10. All losses from fire, theft, or other casualty within 1 year before filing this case.
           0 None
                    Description'of the property lost and how the loss      Amount of payments received for theJoss                      Date of loss      Value of property
                    occurred                                               Ifyou -have received payments to coyerlhe lossfior                             lost
€                                                                          example, from insurance, government compensation, or
                                                                           tort liability, list the total received.
                                                                           List unpaid claims on Official. Form 106A16(Schedule AB:
                                                                           Assets —Real and Personal Property).


I
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}r~,~NwM     ,........


Official Form 207                                        Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                              page 4
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Debtor        Savage Resources, LLC                                                            Case number
              Name



             Certain Payments or Transfers

 11. Payments related to bankruptcy
     List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before
     the filing of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring,
     seeking bankruptcy relief, or filing a bankruptcy case.

     ❑ None

           Who was paid or who receivedthe transfer?          If noYmoney, describe anyproperty transferred            Dates               Total amount or
                                                                                                                                           value

           Sherman &Howard L.L.C.
   11.1.                                                                                                                9/2812015           $ 8,384.00
           Address

            633 17th Street, Suite 3000
           Street

            Denver                      CO         80202
           City                        State      ZIP Code

           Email orwebsite address



           Who made the payment, if not debtor2




           Who was paid or who received the transfer?         Ifnot money, describe anyproperty transferred             Dates              Total amount or
                                                                                                                                           value

   11.2.    Sherman R Hnwarri I I C
                                                                                                                        12/17/2015          $ 23,533.69
           Address
            633 17th Street, Suite 3000
           Streel

            Denver                      CO         80202
           City                        Siate      ZIP Code
           Email or website address



           Who made the payment, if not debtor?

                                                                                                                            See Attachment 3


 12. Self-settled trusts of which the debtor is a beneficiary
     List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case to
     a self-settled trust or similar device.
     Do not include transfers already listed on this statement.

    0 None

           Name of trust or device                            Describe any property transferred                         Dates transfers     Total amount or
                                                                                                                        were made           value




           Trustee




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Debtor                       Savage Resources, LLC                                                             Case number ~ak~o~,-~>
                         Name




          13. Transfers not already listed on this statement
                List any transfers of money or other property—by sale, trade, or any other means—made by the debtor or a person acting on behalf of the debtor
                within 2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs.
                Include both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.


                X❑ None

                     Who received transfer?                                   Description of property transferred or payments received    Date transfer   Total amount or
                                                                              or debts paid in exchange                                   was made        value


           13.1.


                     Address

                      Street



'.                    City                         State        ZIP Code


                      Relationship to debtor




                      Who received transfer?


            132.

                      Address

                      Street



                      City                         State        ZIP Code


                      Relationship to debtor




                         Previous Locations

          14. Previous addresses
              List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.

                ❑ Does not apply
                      Address                                                                                                    Dates of occupancy


            ia.i.      Independence Plaza                                                                                       From          ~ ~         To      q
                      Sheet
                       1001 16th Street, Suite 8180
                       Denver                                              CO            80265
                      City                                                 State         ZIP Code

            14 2                                                                                                                 From                     To
     ~i               Slreet



                       City                                                State         ZIP Code

          ---          —..
      Official Form 207                                    Statement of Financial Affairs for Non-individuals Filing for Bankruptcy                             page 6
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Debtor            Savage Resources, LLC                                                             Case number
                  Name


                  Healthcare Bankruptcies

 15. Healthcare bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
     — diagnosing or treating injury, deformity, or disease, or
    — providing any surgical, psychiatric, drug treatment, or obstetric care?

    0 No. Go to Part 9.
    ❑ Yes. Fill in the information below.
           Facility name and address                          Nature of the business operation, including type of services the              If debtor provides meals
                                                              debtor provides                                                               and housing, number of
                                                                                                                                            patients in debtor's care

   15.1.
           Facility name


           street                                             Location where patient records are maintained (ifdifferent from facility      How.are records kept?
                                                              address): If electronic, identify any service provider.
                                                                                                                                            Check all that apply:

           city                   State       ZIP Code                                                                                      ❑ Electronically
                                                                                                                                            ❑ Paper

           Facility,name and address                          Nature ofthe business operation, including type.of services the               If' debtor provides meals
                                                              debtor provides                                                               and housing,;number of
                                                                                                                                            patients in debtor's care

   15.2.
           Facility name


           Street                                             Location where patient records are maintained (if,different from facility '   How are'records kept?
                                                              address): If electronic;identify any service provider:
                                                                                                                                            Check all that apply:

           city                   state       ZIP Code                                                                                      ❑ Electronically
                                                                                                                                            ❑ Paper

                  Personally Identifiable Information

 ~s. Does the debtor collect and retain personally identifiable information of customers?

    0 No.
    ❑ Yes. State the nature of the information collected and retained.
                  Does the debtor have a privacy policy about that information?
                  ❑ No
                  ❑ Yes
 17.Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403~b) or other
     pension or profit-sharing plan made available by the debtor as an employee benefit?

     0 No. Go to Part 10.
     ❑ Yes. Does the debtor serve as plan administrator?
                  ❑ No. Go to Part 10.
                  ❑ Yes. Fill in below:
                      Name of plan                                                                               Employer identification number of the plan

                                                                                                                 EIN:

                     Has the plan been terminated?
                     ❑ No
                     ❑ Yes


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Debtor               Savage Resources, LLC                                                         Case number
                     Name


                     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

    18. Closed financial accounts
        Within 1 year before filing this case, were any financial accounts or instruments held in the debtor's name, or for the debtor's benefit, closed, sold,
        moved, or transferred?
        Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions,
        brokerage houses, cooperatives, associations, and other financial institutions.

       D None
              Financial institution name and address         Last 4 digits of account       Type of account             Date account was         Last balance
                                                             number                                                     closed, sold; moved,     before closing or
                                                                                                                        or transferred           transfer
                                                                                                                                                                         1
      to ~                                                   XXXX—_ _                       ~ Checking                                            $
              Name
                                                                                            ❑Savings                                                                     ~
              street                                                                        ❑Money market
                                                                                            ❑ Brokerage
              Cily                 State       ZIP Code                                     ❑Other                                                                       ~


      1a.2.                                                  X~X_                           ❑Checking                                                                    ~
              Name
                                                                                            ❑ Savings
              Street                                                                        ❑Money market
                                                                                            ❑ Brokerage
              City                 State        ZIP Code                                    ❑Other
                                                                                                                                                                     1
    19. Safe deposit boxes                                                                                                                                           i
        List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this case.

        B None

               Depository institution name and address       Names of anyone with access to it           Description ofthe contents                    Does debtor
                                                                                                                                                       still have it?'

                                                                                                                                                       ❑ No
              Name                                                                                                                                     ❑ Y2S             ~'.

              Street                                                                                                                                                     '.

                                                              Address'
              City                 Slate        ZIP Code



', 2o.Off-premises storage
',    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
      which the debtor does business.

       ❑x None

                Facility name and address                    Names of anyone with access to it          Description of the contents                   'Does debtor
f                  _                                                                                                                                   still have it?
                                                                                                                                                        ❑ No
[             Name                                                                                                                                      ❑Yes
t
              Streei

                                                              ,Address
'             City                 Stale        ZIP Code




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Debtor            Savage Resources, LLC                                                                 Case number
                  Name



                     Property the Debtor Holds or Controls That the Debtor Does Not Own

     21. Property held for another
         List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in
         trust. Do not list leased or rented property.

       0 None
                                                                  Location of the property                  Description of the property                Value
              Owner's name and address
                                                                                                                                                       e



              Street


              City                 State        ZIP Code



                      Details About Environmental Information

     For the purpose of Part 12, the following definitions apply:
        Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material,
        regardless of the medium affected (air, land, water, or any other medium)
        Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor
        formerly owned, operated, or utilized.
        Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant,
        or a similarly harmful substance.

     Report all notices, releases, and proceedings known, regardless of when they occurred.


     2z. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

        O No
        ❑ Yes. Provide details below.
              Case title                                   Court or agency name and address                 Nature of the case                     Sta4us of case"

                                                                                                                                                   ❑ Pending
              Case number                                  Name                                                                                    ❑ On appeal
                                                                                                                                                   ❑ Concluded
                                                           Street


                                                           City                    State     ZIP Coda



  23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
s     environmental law?

         x❑ No
         ❑Yes. Provide details below.

             Site name and address                         Governmental unit name and address               Environmental law, if known           Date of notice


               Name                                        Name

              Street                                       Street

cb
               City                 State     ZIP Code     City                    State     ZIP Code



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Debtor                       Savage Resources, LLC                                                                                                                                    Case number
                             Name




 24. Has the debtor notified   ~ governmentai
                          ~e many       ~   ~~unit of
                                                    ~~~~,~~ ~ ~ ~.~~~~„of~ hazardous
                                                      any release            ft ~    material?
                                                                                     ~ FF
          O No
           ❑ Yes. Provide details below.

                      Site name and address                                                            Governmental unit name antl address                                                Environmental law, if known                   Date of notice



                       Name                                                                            Name

                      Street                                                                           Street



                      City                                    State              ZIP Code              City                                    State             ZIP Code




                                Details About the Debtor's Business or Connections to Any Business


  25.Other businesses in which the debtor has or has had an interest
     List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
     Include this information even if already listed in the Schedules.

           ~ None


                       Business name and address                                                        Describe the nature of the business                                                     _ Employer Identification number
                                                                                                                                                                                                 - Do not include Social Security numbet or1TIN.
                                                                                                                                                                                                      EIN:--             -------
       25.1.
                       Name                                                                                                                                                                          Dates businessexisted

                       Streel
                                                                                                                                                                                                      From                  To

                       City                                    State              ZIP Code




                       Business name and address                                                        Describe the nature of the business                                                           Employer Identification number
       z5.z.                                                                                                                                                                                          Do not incVude Social Security dumber or dTIN.

                                                                                                                                                                                                       EIN:
                       Name                                                                                                                                                                            Dates business existed

                       Street
                                                                                                                                                                                                       From                 To

                       City                                     State             ZIP Code



                       Business name and address                                                        Describe the nature of thebusiness                                                             Employer Identification number
                                                                                                                                                                                                       Do nofinclude Social Security numbe[or1TIN.'

        ze.s.                                                                                                                                                                                          EIN:----------
                       Name
                                                                                                                                                                                                       Dates business existed
                       Street

                                                                                                                                                                                                       From                     To
                       City                                     Stale                 ZIP Code




t                                                                                                                                                                                        ,:.    -,~~~:,~~~. :.,..».,..   -a»m
C,_,,,,,.~...,,,.,,    .a           ~,,,,,,,,,,,   ,,,,,,,,.~.,,:.,n.,_~.,.   ,,o,.      .M:,..~-:-_          .~,,,,,,,~,~   ,_,..,~».,...a,      nom,,,..   .,,.~„~~..,,,,.,,.,>..


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Debtor             Savage Resources, LLC                                                         Case number pr
                   Name




 26. Books, records, and financial statements
     zsa. List all accountants and bookkeepers who maintained the debtor's books and records within 2 years before filing this case.

             ❑ None
              Name and address                                                                                Dates of service

                                                                                                              From                  To
   2sa.i.     Trinity Petroleum Management
              Name
              1660 Lincoln Street Suite 2100
              Slreet


              Dennver                                             CO                  80264
              City                                                State               ZIP Code


             .Name and address                                                                                Dates of service

                                                                                                              From                  To
    26a.2.
              Name




              City                                                State               ZIP Code


     zsb. List all firms or individuals who have audited, compiled, or reviewed debtor's books of account and records or prepared a financial
          statement within 2 years before filing this case.
             ❑ None

                     Name and address                                                                         Dates of service

                                                                                                              From                  To
         zsb.i.      Trinity Petroleum Management
                     Name
                     1660 Lincoln Street, Suite 2100
                     Street


                     Denver                                               CO              80264
                     City                                                 State           ZIP Code


                     Name and address                                                                             Dates ofservice

                                                                                                                  From              To
         26b.2.
                     Name




                                                                          State


      26c. List all firms or individuals who were in possession of the debtor's books of account and records when this case is filed.
             ❑ None
                      Name and address                                                                            If any books ofaccount and records are.
                                                                                                                  unavailable, explain why

          zs~.~.       Trinity Petroleum Management
                     Name
                       1660 Lincoln Street, Suite 2100
                     Sheet


                       Denver                                             CO              80264
                     City                                                 State           ZIP Code



Official Form 207                               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                              page 11
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Debtor            Savage Resources, LLC                                                         Case number ~rrknown>
                  Name



                                                                                                              If any books of account and records are
                                                                                                              unavailable, explain why




                     Denver                                          Colorado             80203
                    Citv                                             Stale                ZIP Code


     26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial statement
          within 2 years before filing this case.

            ❑ None

                      Name and address


         2sd.z.      Red Rock Gathering Company, LLC
                    Name
                     999 18th Street, Suite 3400S
                    Street

                       Denver                                        CO                    80202
                      City                                           State                ZIP Code

                      Name'and address


         zsd.z.        Caerus Oil and Gas LLC
                      Name
                       1001 Seventeenth Street, Suite 1600
                      Street

                       Denver                                        CO                    80202
                      Ciiy                                           State                 ZIP Code



  z7. Inventories
      Have any inventories of the debtor's property been taken within 2 years before filing this case?
     B No
     ❑Yes. Give the details about the two most recent inventories.



             Name of the person who supervised the taking of the inventory                      Date of         The dollar amount and basis (cost, market, or
                                                                                                inventory       other basis) of each inventory




             Name and address of the person whohas possession of inventory records


    z7.1.
             Name

             Street


             City                                                     State        ZIP Code




O~cial Form 207                                Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                             page 12
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Debtor            Savage Resources LLC                                                        Case number ~ne~o~,-~~
                  Name



           Name of the person who supervised the taking of the inventory                     Date of          The dollar amount and basis (cost, market, or        i
                                                                                             inventory        other basis] of each inventory                       j
                                                                                                                                                                   i


           Name and address of the person who has possession of inventory records


   zZ2.




           City                                                     State        ZIP Code

 2s. List the debtor's officers, directors, managing members, general partners, members in control, controlling shareholders, or other
      people in control of the debtor at the time of the filing of this case.

           Name                                 Address                                             Position and nature of any interest    % of interest, if any

           Marshall Savage                      11710 N. Avondale Loop, Hayden, ID 83835              See Attachment 4                      22.3834

           Daniel Savage                        14610 W. Cornell Place, Lakewood, CO 80228            See Attachment 5                      22.3834

           John Savage                          P O Box 1926, Rifle, CO 81650                         Managing Member -Equity               22.3834

           Roy Savage                           1122-293 Road, Rifle, CO 81650                        Managing Member -Equity               22.3834

           Daniel W. Stroock                    55 Frost Street, Cambridge, MA 02140                  Managing Member- Equity               10

'": 29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general tpartnerst members in control
        of the debtor, or shareholders in control of the debtor who no longer hold these positions?
        D No
            Yes. Identify below.

           Name                                 Address                                               Position and nature of         Period during which
                                                                                                      any interest                   position or interest was
                                                                                                                                     held
                                                                                                                                    From           To

                                                                                                                                    From           To

                                                                                                                                    From           To

                                                                                                                                    From           To

'- 30. Payments, distributions, or withdrawals credited or given to insiders
     Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws,
     bonuses, loans, credits on loans, stock redemptions, and options exercised?
     ❑ No
     0 Yes. Identify below.

           Name and address of recipient                                             Amount of money or                 Dates               Reason for
                                                                                     description and value of                               providing the value
                                                                                     property

   3o.i.    Daniel W. Savaqe                                                          Approximately $100                                     See Attachment
           Name
           14610 W. Cornell Place
           Slreet

            Lakewood                                 CO             80228
           City                                      State          ZIP Code
           Relationship to debtor

                                -        -
Official Form 207                            Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                              page 13
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Debtor          Savage Resources, LLC                                                              Case number ~rrk~ow~>
                Name



             Name and address of recipient                                                 $27,973.20                                           See Attachment 8

             Marshall Savage
            Name
             11710 N. Avondale Loop
            Street

              Hayden                                     ID
             City                                        Stale        ZIP Code

            .Relationship to debtor




  s1.Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?
     O No
     ❑ Yes. Identify below.
             Name of theparent corporation                                                                Employer Identification number of the parent
                                                                                                          corporation

                                                                                                         EIN:



  32.Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?
     ~ No
     ❑ Yes. Identify below.

             Name of the'pension fund                                                                     Employer Identification number of-the pension fund
                                                                                                          EIN:



                   Signature and Declaration


            WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by
            fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
            18 U.S.C. §§ 152, 1341, 1519, and 3571.

             have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the
            information is true and correct.

              declare under penalty of perjury that the foregoing is true and correct.

           "Executed on       09/01/2016



         x s/Marshall Savage                                                             Printed name Marshall
          Signature of individual signing on behalf of the debtor

             Position or relationship to debtor President and Managing Member




         Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy(Official Form 207) attached?
         ❑ No
         B Yes


 O~cial Form 207                                Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                 page 14
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                                Attachment 1/2
                  Debtor: Savage Resources, LLC                        Case No:
      Attachment 1
           the banking account of Savage Resources, LLC. Mr. Savage inadvertently made the
           $27,973.20 payment from his personal account. Upon realizing the mistake, Mr.
           Savage corrected the transaction by transferring the same amount of funds from the
           Savage Resources, LLC account to his personal account.
      Attachment 2
           Red Rock Gathering Co., LLC v. Savage Resources, LLC
      Attachment 2
           United States District Court for the District of Colorado
  Attachment 3 Additional Payments Related to Bankruptcy:
      Name ofPayee or Transferee: Sherman &Howard L.L.C.
      Payee or Transferee Address: 633 17th Street, Suite 3000, Denver, Colorado 80202
      Dates: 12/28/2015
      Total Amount or Value Transferred: $15,870.20

      Name ofPayee or Transferee: Sherman &Howard L.L.C.
      Payee or Transferee Address: 633 17th Street, Suite 3000, Denver, Colorado 80202
      Dates: 2/5/2016
      Total Amount or Value Transferred: $12,103.00

      Name ofPayee or Transferee: Sherman &Howard L.L.C.
      Payee or Transferee Address: 633 17th STreet, Suite 3000, Denver, Colorado 80202
      Dates: 2/25/2016
      Total Amount or Value Transferred: $5,315.50

      Name of Payee or Transferee: Sherman &Howard L.L.C.
      Payee or Transferee Address: 633 17th Street, Suite 3000, Denver, Colorado 80202
      Dates: 4/11/2016
      Total Amount or Value Transferred: $8,900.00

      Name ofPayee or Transferee: Sherman &Howard L.L.C.
      Payee or Transferee Address: 633 17th Street, Suite 3000, Denver, Colorado 80202
      Dates: 5/3/2016
      Total Amount or Value Transferred: $2,412.00

      Name ofPayee or Transferee: Sherman &Howard L.L.C.
      Payee or Transferee Address: 633 17th Street, Suite 3000, Denver, Colorado 80202
      Dates: 5/31/2016
      Total Amount or Value Transferred: $21,400.00
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                               Attachment 2/2
                 Debtor: Savage Resources, LLC                      Case No:
      Name ofPayee or Transferee: Sherman &Howard L.L.C.
      Payee or Transferee Address: 633 17th Street, Suite 3000, Denver, Colorado 80202
      Dates: 7/14/2016
      Total Amount or Value Transferred: $38,782.00

      Name ofPayee or Transferee: Sherman &Howard L.L.C.
      Payee or Transferee Address: 633 17th Street, Suite 3000, Denver, Colorado 80202
      Dates: 7/22/2016
      Total Amount or Value Transferred: $10,527.00

      Name ofPayee or Transferee: Sherman &Howard L.L.C.
      Payee or Transferee Address: 633 17th Street, Suite 3000, Denver, Colorado 80202
      Dates: 9/1/16
      Total Amount or Value Transferred: $15,339.38

      Attachment 4
           President and Managing Member -Equity

      Attachment 5
           Vice President and Managing Member -Equity

  Attachment 6
      Additional Parties In Control of the Debtor:
      Name: Cheryl Burch Schoff
      Address: 212 W. Maple, Stillwater, Minnesota 55082
      Position and Nature ofInterest: Non-voting Non-Managing Member -Equity
         ofInterest: 0.4664

      Attachment 7
           Daniel Savage closed the Debtor's offices at Independence Plaza. He sold certain
           office furniture on Craig's List for $100. He disposed of the remaining furniture.
           Savage Resources used the $100 to compensate Mr. Savage for his efforts in this
           regard.
      Attachment 8
           Mr. Savage intended to make an on-line payment to Sherman &Howard L.L.C. from
           the banking account of Savage Resources, LLC. Mr. Savage inadvertently made the
           $27,973.20 payment from his personal account. Upon realizing the mistake, Mr.
           Savage corrected the transaction by transferring the same amount offunds from the
           Savage Resources, LLC account to his personal account.
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Debtor name                                       Savage Resources, LLC

 United States Bankruptcy Court for the:                                          CO~OI'1C~0

Case number (If known):

                                                                                                                                                                                                ❑ Check if this is an
                                                                                                                                                                                                  amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                             12/15




                 Summary of Assets


1. Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

    1a. Real property:                                                                                                                                                                           $ 0.00
          Copy line 88 from Schedule A/B ..........................................................................................................................................
                                                                                                                                                                                               -----)

    1b. Total personal property:                                                                                                                                                                 g 16 789.13
        Copy line 91A from Schedule A/8........................................................................................................................................                4a ~~~.4~~.._~

    ~c. Total of all property:                                                                                                                                                                   $ 16,789.13
          Copy line 92 from Schedule A/B ..........................................................................................................................................            ~_          <_. '~s




                 Summary of Liabilities




                                                                                                                                                                                                  __         -_
2. Schedule D: Creditors Who Hold Claims Secured by Property (Official Form 206D)
                                                                                                                                       ~                                                         $ 0.00
   Copy the total dollar amount listed in Column A, Amount of claim, at the bottom of page 1 of Schedule D............................
                                                                                                                                       1                                                        - — ---
3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                                                                                                                                                                                                            --
     3a. Total claim amounts of priority unsecured claims:
                                                                                                                                                                                                 $ 60,000.00
          Copy the total claims from Part 1 from line 6a of Schedule E/F......................................................................................... ~
                                                                                                                                                                                                    -.

     3b. Total amount of claims of non-priority amount of unsecured claims:
                                                                                                                                                                                               + g 31,389,565.22
          Copy the total of the amount of claims from Part 2 from line 6b of Schedule E/F .............................................................




4. Total liabilities .......................................................................................................................................................................     g 31,449,565.22
   Lines 2 + 3a + 3b




  Official Form 206Sum                                         Summary of Assets and Liabilities for Non-Individuals                                                                                     page 1
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  Debtor name   Savage Resources, LLC

  United States Bankruptcy Court for the: CO~OCadO

  Case number (If known):                                                                                                             ❑ Check if this is an
                                                                                                                                        amended filing


Official Form 206A/B
Schedule AJB: Assets —Real and Personal Property                                                                                                   12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include
all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have
no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired
leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases(Official Form 206G).
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor's name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules,such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor's interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.


            Cash and cash equivalents

1. Does the debtor have any cash or cash equivalents?

   ❑      No. Go to Part 2
   ❑
   x Yes. Fill in the information below.

    All cash or cash equivalents owned or controlled by the debtor                                                                Current value of debtor's
                                                                                                                                  interest

2. Cash on hand                                                                                                                  $ 0.00

3. Checking, savings, money market, or financial brokerage accounts (Identify all)

   Name of institution (bank or brokerage firm)                Type of account                 Last 4 digits of account number
   3.1. Wells Fargo Bank                                       Checking                          9      1      6     9           $ 1,437.51
   32.                                                                                              ---                          $

4. Other cash equivalents (identify all)
   4.1.                                                                                                                          $
   4.2.                                                                                                                          $

5. Total of Part 1                                                                                                               $1,437.51
   Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.



            Deposits and prepayments

6. Does the debtor have any deposits or prepayments?

   ❑      No. Go to Part 3.
  0 Yes. Fill in the information below.
                                                                                                                                     Current value of
                                                                                                                                     debtor's interest
7. Deposits, including security deposits and utility deposits
   Description, including name of holder of deposit
   ~.~. Sherman &Howard L.L.C. -retainer                                                                                             g 15,351.62
   ~.z.


  Official Form 206A/B                                    Schedule A/B: Assets— Real and Personal Property                                      page 1
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Debtor          Savage Resources, LLC                                                                Case number
                Name




8. Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent

   Description, including name of holder of prepayment
   8.1.



9. Total of Part 2.                                                                                                                 $15,351.62
   Add lines 7 through 8. Copy the total to line 81.



            Accounts receivable

10. Does the debtor have any accounts receivable?

     X❑ No. Go to Part 4.

    ❑ Yes. Fill in the information below.
                                                                                                                                    Current value of debtor's
                                                                                                                                    interest

11. Accounts receivable

    11a. 90 days old or less:
                                   face amount                      doubtful or uncollectible accounts

    11b. Over 90 days old:
                                   face amount                      doubtful or uncollectible accounts


12. Total of Part 3
     Current value on lines 11 a + 11 b =line 12. Copy the total to line 82.



            Investments

13. Does the debtor own any investments?
    0 No. Go to Part 5.

     ❑ Yes. Fill in the information below.
                                                                                                           Valuation method         Current value of debtor's
                                                                                                           used for current value   interest

14. Mutual funds or publicly traded stocks not included in Part 1
    Name of fund or stock:
    14.1.
    14.2.




15. Non-publicly traded stock and interests in incorporated and unincorporated businesses,
    including any interest in an LLC, partnership, or joint venture

    Name of entity:                                                                   % of ownership:

    15.1.                                                                                       ~0
    15.2.


 16. Government bonds, corporate bonds, and other negotiable and non-negotiable
     instruments not included in Part 1

    Describe:
    16.1.




 17. Total of Part 4
     Add lines 14 through 16. Copy the total to line 83.



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Debtor        Savage Resources, LLC                                                      Case number (ifk~own)
              Name



           Inventory, excluding agriculture assets

18. Does the debtor own any inventory (excluding agriculture assets)?
    0 No. Go to Part 6.
    ❑ Yes. Fill in the information below.

      General description                           Date of the last     Net book value of    Valuation method used      Current value of
                                                    physical inventory   debtor's interest    for current value          debtor's interest
                                                                         (Where available)
19. Raw materials

                                                    MM !DD/YYYY          $                                              $

20. Work in progress

                                                    MM /DDIYYYY

21. Finished goods, including goods held for resale

                                                    MM /DD/YYYY

22. Other inventory or supplies

                                                    MM /DDlYYYY


23. Total of Part 5                                                                                                    ~ ~
    Add lines 19 through 22. Copy the total to line 84.
                                                                                                                        ~'
                                                                                                                       ~_

24. Is any of the property listed in Part 5 perishable?
    ❑ No
    ❑ Yes
25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?

    ❑ No
    ❑ Yes. Book value                            Valuation method                       Current value

26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
    ❑ No
    ❑ Yes

           Farming and fishing related assets (other than titled motor vehicles and land)

27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
    0 No. Go to Part 7.

    ❑ Yes. Fill in the information below.

      General description                                                Net book value of     Valuation method used     :Current value of debtor's ,
                                                                         debtor's interest     for current value          interest
                                                                         (Where available)
28. Crops—either planted or harvested
                                                                             $                                          $                           ',

29. Farm animals Examples: Livestock, poultry, farm-raised fish

                                                                             $                                          $

30. Farm machinery and equipment (Other than titled motor vehicles)

                                                                             $                                          $

31. Farm and fishing supplies, chemicals, and feed
                                                                             $                                          $

32. Other farming and fishing-related property not already listed in Part 6

                                                                             $                                          $


 O~cial Form 206A(B                                       Schedule A/B: Assets —Real and Personal Property                            page 3
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Debtor           Savage Resources, LLC                                                        Case number
                 Name




33. Total of Part 6.
    Add lines 28 through 32. Copy the total to line 85.

34. Is the debtor a member of an agricultural cooperative?

    ❑ No
    ❑ Yes. Is any of the debtor's property stored at the cooperative?
           ❑    No
           ❑ Yes
35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?

    ❑ No
    ❑ Yes. Book value $                     Valuation method                          Current value $

36. Is a depreciation schedule available for any of the property listed in Part 6?

    ❑ No
    ❑ Yes
37. Has any of the property listed in Part 6 been appraised by a professional within the last year?

    ❑ No
    ❑ Yes


               Office furniture, fixtures, and equipment; and collectibles

38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

    0 No. Go to Part 8.
    ❑ Yes. Fill in the information below.


   General description                                                        Net book value of         Valuation method         Current value of debtor's
                                                                              debtor's interest         used for current value   interest
                                                                             (Where available)

39. Office furniture



40. Office fixtures



41. Office equipment, including all computer equipment and
    communication systems equipment and software


42. Collectibles Examples: Antiques and figurines; paintings, prints, or other
    artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
    or baseball card collections; other collections, memorabilia, or collectibles
    42.1                                                                      $_


                                                                               a

43. Total of Part 7.
     Add lines 39 through 42. Copy the total to Tine 86.

44. Is a depreciation schedule available for any of the property listed in Part 7?

     ❑ No
     ❑ Yes

45. Has any of the property listed in Part 7 been appraised by a professional within the last year?

     ❑ No
     ❑ Yes


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Debtor          Savage Resources, ~~C                                                     Case number
                Name




          Machinery, equipment, and vehicles

46. Does the debtor own or lease any machinery, equipment, or vehicles?

    ❑ No. Go to Part 9.                                                                                                                      i
     "❑ Yes. FiII in the information below.


   General description                                                     Net book value of     Valuation method used   Current value of
                                                                           debtor's interest     for current value       debtor's interest
   Include year, make, model, and identification numbers (i.e., VIN,
                                                                          (Where available)
   HIN, or N-number)

47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

   47.1                                                                    $

   47.2                                                                    $

   47.3                                                                    $

   47.4                                                                    $


48. Watercraft, trailers, motors, and related accessories Examples: Boats,
    trailers, motors, floating homes, personal watercraft, and fishing vessels

   48.1                                                                    $

   48.2                                                                    $

49. Aircraft and accessories

   49.1



50. Other machinery, fixtures, and equipment(excluding farm
    machinery and equipment)

    48% interest in infrastructure (see attached)                          $1,686,619.00                                 $Unknown


51. Total of Part 8.                                                                                                     ~ Unknown
     Add lines 47 through 50. Copy the total to line 87.



52. Is a depreciation schedule available for any of the property listed in Part 8?
      x0 No
     ❑    Yes

53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
     O No
     ❑    Yes




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Debtor           Savage Resources, LLC                                                        Case number ~rrk~own>
                 Name




            Real property

54. Does the debtor own or lease any real property?
    ❑ No. Go to Part 10.
   0 Yes. Fill in the information below.

55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
                                                        Nature and extent    Net book value of        Valuation method used     Current value of
    Description and location of property
    Include street addressor other description such as  ofidebtor's interest debtor's interest        for current value'        debtor's interest
    Assessor Parcel Number(APN), and type of property ~n property            (Where available)
    (for example, acreage,factory, warehouse, apartment
    or office building), if available.
    55.E See attached list of wells                                          $                                                  $Unknown

    55.z See attached list of leases                                         $                                                  $Unknown

    55.3                                                                     $                                                  $

    55.4                                                                     $                                                  $

    55.5                                                                     $                                                  $

    55.6                                                                     $                                                  $

56. Total of Part 9.                                                                                                            $Unknown
    Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.

57. Is a depreciation schedule available for any of the property listed in Part 9?
    O No
    ❑ Yes
58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
    OO      No
    ❑ Yes

             Intangibles and Intellectual Property

59. Does the debtor have any interests in intangibles or intellectual property?
    ❑ No. Go to Part 11.
    0 Yes. Fill in the information below.

         General description                                                 Net book value of         Valuation method             Current value of
                                                                             debtor's interest         used for current value       debtor's interest
                                                                             (Where available)
60. Patents, copyrights, trademarks, and trade secrets


61. Internet domain names and websites
    savageresources.com~ savageresources.org; savageresources.net                g 0.00                                             g 0.00

62. Licenses,franchises, and royalties


63. Customer lists, mailing lists, or other compilations


64. Other intangibles, or intellectual property

65. Goodwill


66. Total of Part 10.                                                                                                               g 0.00
     Add lines 60 through 65. Copy the total to line 89.




 Official Form 206A1B                                      Schedule A/B: Assets- Real and Personal Property                                    page 6
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Debtor          Savage Resources, LLC                                                            Case number err
                Name




67. Do your lists or records include personally identifiable information of customers(as defined in 11 U.S.C. §§ 101(41A) and 107)?
    0 No
     ❑ Yes
68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
     x0 No
     ❑ Yes
69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
     D No
     ❑ Yes

             All other assets

70. Does the debtor own any other assets that have not yet been reported on this form?
     Include all interests in executory contracts and unexpired leases not previously reported on this form.
     ❑     No. Go to Part 12.
    0 Yes. Fill in the information below.
                                                                                                                                      Current value of
                                                                                                                                      debtor's interest
71. Notes receivable
    Description (include name of obligor)
                                                                                         —                                      _~
                                                                     Total face amount       doubtful or uncollectible amount

72. Tax refunds and unused net operating losses(NOLs)

     Description (for example, federal, state, local)

                                                                                                            Tax year
                                                                                                            Tax year
                                                                                                            Tax year

73. Interests in insurance policies or annuities


74. Causes of action against third parties (whether or not a lawsuit
    has been filed)
     Counterclaim filed against Red Rock Gathering Company, LLC                                                                       Unknown
     Nature of claim                    See Attachment

     Amount requested                  g Unliquidated

75. Other contingent and unliquidated claims or causes of action of
    every nature, including counterclaims of the debtor and rights to
    set off claims
     Gas imbalances                                                                                                                  c l )nknnwn

     Nature of claim                    See Attachment
     Amount requested_                 g Unliquldated

76. Trusts, equitable or future interests in property


77. Other property of any kind not already listed Examples: Season tickets,
    country club membership




78. Total of Part 11.
                                                                                                                                     $Unknown
     Add lines 71 through 77. Copy the total to line 90.

79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
      XO No
     ❑ Yes

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Debtor            Savage Resources, LLC                                                                               Case number
                  Name




                Summary



In Part 12 copy all of the totals from the earlier parts of the form.


       Type of property                                                                            Current value of                      Current value
                                                                                                   personal property                     of real property

                                                                                                      $1,437.51
80. Cash, cash equivalents, and financial assets. Copy line 5, Part 7.

                                                                                                      $15,351.62
81. Deposits and prepayments. Copy line 9, Part 2.

                                                                                                      $0.00
82. Accounts receivable. Copy line 12, Part 3.

                                                                                                      $0.00
83. Investments. Copy line 17, Part 4.

                                                                                                      $0.00
84. Inventory. Copy line 23, Part 5.

                                                                                                      $0.00
85. Farming and fishing-related assets. Copy line 33, Part 6.

86. Office furniture, fixtures, and equipment, and collectibles.                                      $0.00
     Copy line 43, Part 7.

 87. Machinery, equipment, and vehicles. Copy line 57, Part s.
                                                                                                      $Unknown

                                                                                                                                        $ 0.00
 88. Real property. Copy line 56, Part 9.................................................................................... ~
                                                                                                      $0.00
 89. Intangibles and intellectual property. Copy line 66, Part 10.

 90. All other assets. Copy line 78, Part 11.                                                     t $ UnknoWll


                                                                                                      $16,789.13 plus            ♦ 91 b. $ 0.00
 91. Total. Add lines 80 through 90 for each column............................91 a.




92. Total of all property on Schedule A/B. Lines 91 a + 91 b = 92...........................................................................................   $16,789.13 plus
                                                                                                                                                                 ~ ,




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 Attachment Form 206 A/B,Part 8, Question No. 50

       Savage Resources holds a 48% interest in the Piceance SL & 8D Pipeline and also holds a
 48% interest in a compression plant.




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Attachment Form 206 AIB,Part 11, Question No. 74

        Savage Resources asserted a counterclaim against Red Rocic in the federal district court
litigation styled Red Rock Gathering Company, LLC v. Savage ResouNces, LLC, United States
District Court for the District of Colorado, Civil Action No. 16-cv-1057. Savage Resources
asserts that certain amounts it paid to Red Rock were based upon an unenforceable penalty
imposed in the contract between Savage Resources and Red Rock. The amount of the penalties
paid totals $698,518.27. Savage Resources also alleges that Red Rocic improperly refused to
accept gas from Savage Resources and has thereby caused damage to Savage Resources. That
amount is unliquidated. Savage Resources also has learned that Red Rocic has unilaterally taken
Savage Resources gas being produced from WPX Wells, and is applying that gas to amounts
Savage Resources allegedly owes to Red Rocic, although Savage Resources disputes those
amounts. Red Rock has done this without the consent of Savage Resources after it unilaterally
terminated the agreement between Red Rocic and Savage Resources. These actions have
damaged Savage Resources in an amount that is unliquidated, but not less than the value of the
gas improperly taken by Red Rocic.




                                                2
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Attachment Form 206 AB,Part 11, Question No. 75

       Savage Resources is entitled to gas imbalances under its joint operating agreements with
Caerus. Savage Resources believes that the gas imbalance owed by Caerus as of June 2016 was
308,445 MMBTU. Based on the price as of June 2016, Savage Resources gas imbalance has a
value of $771,112.50. Savage Resources does not have gas imbalance figures for the months
subsequent to June 2016.

       Savage Resources may have overpaid Caerus and/or WPX Energy for monthly JIBS
based on taxes that may have been improperly included in monthly invoices.
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 Attachment Form 206 A/B,Part 9, Question No.55

        Savage Resources has a working interest in the following wells. These wells are located
 on properties located in Garfield County, Colorado that are subject to oil and gas leases with
 Savage Resources as the lessor.

  WPX Wells                   AFE Number             Working            API Number
                                                     Interest
  RWF 543-6                   WT4134-62154896        12.963781%         050451366700
  RWF 443-6                   WT17681-62190130       12.963781%         050451365700

  Pad 31-6 NE Qtr
  RWF 31-6                     WT8828-62184083       12.963781%         050451330400
  RWF 531-6                    WT17322-62190004      12.963781%         050451330500
  RWF 431-6                    WT17378-62190002      12.963781%         050451330100
  RWF 32-6                     WT17619-62066621      12.963781%         050451331900
  RWF 332-6                    WT17631-62189975      12.963781%         0504513330000
  RwF 331-6                    WT17627-62190000      12.963781%         050451332100
  RWF 341-6                    WT17641-62189998      12.963781%         050451332300
  RWF 432-6                    WT17643-62189979      12.963781%         050451332000
  RWF 442-6                    WT17679-62189986      12.963781%         050451330600
  RWF 441-6                    WT17677-62189996      12.963781%         050451329900
  RWF 541-6                    WT17221-62189994      12.963781%         050451330300
  RWF 342-6                    WT17643-62189988      12.963781%         050451331800
  RWF 42-6                     WT17660-62189990      12.963781%         050451332200
  RWF 41-6                     WT17653-62189992      12.963781%         050451330200
  RWF 232-32                   WT6030-62171504       25.000000%         050451212500
  RWF 431-32                   WT8841-62183660       25.000000%         050451277300
  RWF 331-32                   WT8107-62180413       25.000000%         050451275500
  RWF 332-32                   WT8840-62183686       25.000000%         050451275700
  RWF 231-32                   WT6027-62171500       25.000000%         050451212200
  RWF 31-32                    WT8082-62180391       25.000000%         050451275400
  RWF 32-32                    WT8083-62180404       25.000000%         050451275600
  RWF 442-32                   WT8842-62183720       25.000000%         050451275200
  RWF 241-32                   WT8085-62180385       25.000000%         050451274800
   RWF 41-32                   WT8084-62180411       25.000000%         050451274900
   RWF 342-32                  WT9352-62183740       25.000000%         050451275000
   RWF 242-32                  WT6023-62171490       25.000000%          050451212600
   RWF 341-32                  WT6025-62171496       25.000000%          050451212300
   RWF 441-32                   WT8086-62180418      25.000000%          050451275800
   RWF 541-32                   WT8087-62180420      25.000000%          050451275300
   RWF 42-32                    WT9487-62183882      25.000000%          050451275100

   RWF 11-32                                          25.000000%         050450758000
   RWF 414-6                   WT7919-62178985        12.963781%         050451252000
   SR 311-7                    WT7918-62178989        9.731580%          050451235100




                                                 4
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  WPX Wells            AFE Number           Working        API Number
                                            Interest
  Pad 11-6 NW Qtr
  RWF 311-6            WT9476-62186413      12.963781%     050451311200
  RWF 21-6             WT13043-62189977     12.963781%     050451310600
  RWF 321-6            WT4139-62154829      12.963781%     050451310700
  RWF 411-6            WT9479-62186415      12.963781%     05045 13 1 1 100
  RWF 511-6            WT9483-62186417      12.963781%     050451311000
  RWF 421-6            WT9485-62186419      12.963781%     050451310800
  RWF 521-6            WT9485-62186421      12.963781%     050451310900
  RWF I1-6             WT4137-6214706       12.963781%     050451311400
  RWF 12-6             WT8355-62181712      12.963781%     050451311300
  RWF 22-6             WT4138-62154707      12.963781%     050451311800
  RWF 322-6            WT9478-62186401      12.963781%     050451311900
  RWF 312-6            WT9477-62186407      12.963781%     05045 13 1 1 500
  RWF 412-6            WT9480-62186409      12.963781%     050451311600
  RWF 422-6            WT9482-62186403      12.963781%     050451312000
  RWF 522-6            WT9486-62186405      12.963781%     050451312100
  RWF 512-6            WT9484-62186411      12.963781%     050451311700

  Pad 13-6 SW Qtr
  RWF 14-6              WT8356-62181716     12.963781°/a   050451331600
  RWF313-6              WT15866-62190086    12.963781%     050451355100
  RWF 314-6             WT15571-62190063    12.963781°/a   050451331500
  RWF323-6              WT17220-62190082    12.963781%     050451355400
  RWF 413-6             WT4135-62154852     12.963781%     050451331200
  RWF513-6              WT15570-62190088    12.963781%     050451331300
  RWF 514-6             WT15573-62194152    12.963781%     050451331000
  RWF 13-6              WT8829              12.963781%     050451355000
  RWF 23-6              WT16552             12.963781%     05045 1 331400
  RWF 424-6             WT16943             12.963781%     0504513555200
  RWF 524-6             WT16765             12.963781%     050451331700
  RWF 523-6             WT17696-62190078    12.963781%     050451355300
  RWF 324-6             WT4136-62154834     12.963781%     050451331100
  RWF 423-6             WT17375-62190080    12.963781%     050451332400
  RWF 24-6              WT17610-62190076    12.963781%     050451330900

  Pad 33-6 SE Qtr
  RWF 34-6              WT17130-62193982    12.963781%     050451365900
  RWF 533-6             WT8357-62181718     12.963781%     050451367200
  RWF 433-6             WT17672-62190120    12.963781%     050451367000
  RWF 334-6             WT17640-62193984    12.963781%     050451366600
  RWF 434-6             WT17676-62193986    12.963781%     050451366100
  RWF 33-6              WT4133-62154838     12.963781%     050451367100
  RWF 534-6             WT17702-62193989    12.963781%     050451366200
  RWF 333-6             WT17636-62190122    12.963781%     050451366900
  RWF 544-6             WT17707-62193998    12.963781%     050451366000
  RWF 532-6             WT 17699-62189981   12.963781%     050451365800
  RWF 542-6             WT17703-62189983    12.963781%     050451366800

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WPX Wells              AFE Number         Working        API Number
                                          Interest
RWF 444-6              WT17690-62193996   12.963781%     050451366500
RWF 344-6              WT17652-62193994   12.963781%     050451366400
RWF 43-6               WT17674-62190124   12.963781%     050451365500
RWF 44-6               WT17684-62193992   12.963781%     050451366300
RWF 343-6              WT17648-62190126   12.963781%     050451365600

Caerus Wells                              Working
                                          Interest
                                          48o/a
SAVAGE 5-23A
SAVAGE 5-23C                              48%
SAVAGE 5-13C                              48%
SAVAGE 5-13D                              48%
SAVAGE 5-14A                              48%
SAVAGE 5-23D                              48%
SAVAGE 5-24A                              48%
SAVAGE 5-14B                              48%
SAVAGE 5-14C                              48%
SAVAGE 5-24C                              48%
SAVAGE 5-24B                              48%
SAVAGE 5-13A                              48%
SAVAGE 5-24D                              48%
SAVAGE 5-14D                              48%
SAVAGE 5-23B                              4g%
SAVAGE 5-13B                              4g%
SAVAGE 8-12C                              48%
SAVAGE 8-12D                              48%
SAVAGE 8-12A                              48%
SAVAGE 8-12B                              48%
SAVAGE 8-21C                              48%
SAVAGE 8-21D                              48%
SAVAGE 8-11C                              48%
SAVAGE 8-11D                              4g%
SAVAGE 8-11A                              48%
SAVAGE 8-11B                              48%
SAVAGE 8-21A                              48%
SAVAGE 8-21 B                             10%


 RULISON FEDERAL 17-                      48%
 12C




                                      D
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Attachment Form 206 A/B,Part 9, Question No.55

Savage Resources has a 48%interest in the following leases based on across-Assignment and
Stipulation of Interest effective June 27, 2007, by and between Noble Energy, Inc. and Savage
Resources, LLC, as amended and extended, recorded on January 25, 2008, at Reception No.
741837 in the real property records for Garfield County, Colorado (Noble Energy assigned its
rights to Caerus Oil and Gas, LLC).

 Leases
 Savage Leases
 A. Oil and Gas Lease dated June 13, 2007, by and between Joan L. Savage and Savage
      Resources, LLC covering lands in T7S-R94W,6t~' P.M., Section 5, covering 240.00 acres,
      snore or less, Memorandum of Lease recorded in Book 1947, Page 0502, Garfield County,
      Colorado.

 B.   Oil and Gas Lease dated June 13, 2007, by and between Joan L. Savage and Savage
      Resources, LLC covering lands in T7S-R94W,6`h P.M., Section 8, covering approximately
      200.00 acres,.more or less, Memorandum of Lease recorded in Book 1947, Page 0504,
      Garfield County, Colorado.

 C.    Oil and Gas Lease dated June 13, 2007, by and between Joan L. Savage and Savage
       Resources, LLC covering lands in T7S-R94W,6t'' P.M., Section 19, covering 248.58 acres,
       more or less, Memorandum of Lease recorded in Boolc 1947, Page 0506, Garfield County,
       Colorado.

 D.    Oil and Gas Lease dated June 13, 2007, by and between Joan L. Savage and Savage
       Resources, LLC covering lands in T7S-R95W,6th P.M., Section 24, covering
       approximately 382.00 acres, more or less, Memorandum of Lease recorded in Book 1947,
       Page 0508, Garfield County, Colorado.

 E.    Oil and Gas Lease dated June 13, 2007, by and between Joan L. Savage and Savage
       Resources, LLC covering lands in T7S-R94W,6th P.M., Section 29, covering
       approximately 631.49 acres, more or less, Memorandum of Lease recorded in Book 1947,
       Page 0520, Garfield County, Colorado.

 F.    Oil and Gas Lease dated June 13, 2007, by and between Joan L. Savage and Savage
       Resources, LLC covering lands in T7S-R94W, 6"'P.M., Section 30, covering
       approximately 150.64 acres, more or less, Memorandum of Lease recorded in Book 1947,
       Page 0524, Garfield County, Colorado.

 G.    Oil and Gas Lease dated June 13, 2007, by and between Joan L. Savage and Savage
       Resources, LLC covering lands in T7S-R94W,6t~' P.M., Section 32, covering
       approximately 134.65 acres, more or less, Memorandum of Lease recorded in Book 1947,
       Page 0510, Garfield County, Colorado.

 H.    Oil and Gas Lease dated December 12, 2005, by and between Joan L. Savage and Savage
       Resources, LLC covering 80 acres in T7S-R94W,6t'' P.M., Section 6, Recorded in Book
       No. 1767, Page 761, Garfield County, Colorado.




                                                  7
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Savage Leases
I.   Oil and Gas Lease dated December 12, 2005, by and between Joan L. Savage and Savage
     Resources, LLC covering 80 acres in T7S-R94W, 6`" P.M., Section 7, Recorded in Book
     No. 1767, Page 806, Garfield County, Colorado.

      Oil and Gas Lease dated November 17, 2005, by and between Joan L. Savage and Savage
      Resources, LLC covering 240 acres in T6S-R94W,6tl'P M., Section 32, Recorded in Book
      No. 1767, Page 746, Garfield County, Colorado.

K.    Oil and Gas Lease dated June 13, 2007, by and between Charles B. Williams and Savage
      Resources, LLC covering lands in T7S-R94W, 6`'' P.M., Section 29, covering
      approximately 631.49 acres, more or less, Memorandum of Lease recorded in Boolc 1947,
      Page 0518, Garfield County, Colorado.

L.    Oil and Gas Lease dated June 13, 2007, by and between Chat•les B. Williams and Savage
      Resources, LLC covering lands in T7S-R94W,6t~' P.M., Section 30, covering
      approximately 150.64 acres, more or less, Memorandum of Lease recorded in Book 1947,
      Page 0522, Garfield County, Colorado.

 M.   Oil and Gas Lease dated June 13, 2007, by and between Charles B. Williams and Savage
      Resources, LLC covering lands in T7S-R94W, 6`'' P.M., Section 32, covering
      approximately 134.65 acres, more or less, Memorandum of Lease recorded in Book 1947,
      Page 0512, Garfield County, Colorado.

 N.   Oil and Gas Lease dated June 13, 2007, by and between William Baylor Barnett and
      Savage Resources, LLC covering lands in T7S-R94W, 6`'' P.M., Section 29, covering
      approximately 631.49 acres, more or less, Memorandum of Lease recorded in Book 1947,
      Page 0514, Garfield County, Colorado.

 O.   Oil and Gas Lease dated June 13, 2007, by and between William Baylor Barnett and
      Savage Resources, LLC covering lands in T7S-R94W,6th P.M., Section 30, covering
      approximately 150.64 acres, more or less, Memorandum of Lease recorded in Boolc 1947,
      Page 0526, Garfield County, Colorado.

 P.   Oil and Gas Lease dated June 13, 2007, by and between William Baylor Barnett and
      Savage Resources, LLC covering lands in T7S-R94W,6t1i P M., Section 32, covering
      approximately 134.65 acres, more or less, Memorandum of Lease recorded in Boolc 1947,
      Page 0516, Garfield County, Colorado.

 Noble Leases
 A. COC67544, Oil and Gas Lease dated effective September 1, 2004,from USA BLM to
      Apollo Energy LLC, covering 736.000 acres in T7S-R94W,6t'' P.M., Sections 19, 20 and
      30, Recorded in Book 1633, Page 118, Garfield County, Colorado. Q004965000.

 B.   COC66921, Oil and Gas Lease dated effective September 1, 2003,from USA BLM to
      Apollo Energy LLC,covering 723.180 acres in T7S-R94W, Sections 17 and 18, Recorded
      in Boolc 1539, Page 174, Garfield County, Colorado. Q004955000.
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Noble Leases
C.   Oil and Gas Lease dated December 20, 2002, by and between Audrey J. Jones, Trustee of
     the Russell E. and Audrey J. Jones Trust, U/T/A dated the 28~h day of January, 1993 and
     Apollo Energy LLC, covering 147.49 acres in T7S-R94W,6t'' P.M., Section 17, Recorded
     in Book 1425, Page 438, Garfield County, Colorado. Q004950001.

D.    Oil and Gas Lease dated November 18, 2002, by and between James R. Jones, Jr. and Lois
      D. Jones, husband and wife and Apollo Energy LLC,covering 147.49 acres in T7S-R94W,
       'P M., Section 17, Recorded in Book 1425, Page 435, Garfield County, Colorado.
      6`l
      Q004950002.

E.    Oil and Gas Lease dated December 20, 2002, by and between Fern Mae Jones, as single
      woman and Apollo Energy LLC,covering 147.49 acres in T7S-R94W,6t'' P.M., Section
      17, Recorded in Boolc 1433, Page 108, Garfield County, Colorado. Q004950003.

F.    Oil and Gas Lease dated June 21, 2004, by and between Bernklau Family LLLP and
      Hilltop 2F2 Ranch, LLLP and Apollo Energy LLC,covering 147.49 acres in T7S-R94W,
      6t'' P.M., Section 17, Recorded in Boolc 1598, Page 948, Garfield County, Colorado.
      Q004950004.

G.    Oil and Gas Lease dated April 19, 2006, by and between Double B. Ranch, LLC and
      Apollo Energy LLC,covering 80 acres in T7S-R94W, 6`h P.M., Section 18, Recorded in
      Book 1803, Page 462, Garfield County, Colorado. Q007197002.

 H.   C00070016, Oil and Gas Lease dated effective June 1, 2007,from USA BLM to Neil
      Romano, covering approximately 50.48 acres in T7S-R94W, 6"' P,M., Section 30,
      Recorded in Reception No. 734040, Garfield County, Colorado. Q017024000.

 I.   COC67543, Oil and Gas Lease dated effective September 1, 2004,from USA BLM to
      Presco Inc., covering approximately 12.27 acres in T7S-R94W, 6"' P.M., Sections 29 and
      32, Recorded in Book         ,Page         ,Garfield County, Colorado. Q009755000.

 J.   Amended and Restated Oil and Gas Lease dated August 1, 2003, by and between
      Battlement Creelc Ranch, LLc, and Presco, Inc., covering approximately 332.03 acres in
      T7S-R94W, 6`~' P.M., Section 19, 30, and approximately 131.34 acres in T7S-R94W, 6`l,
      P.M., Section 24, Recorded in Bool< 1553, Page 884, Garfield County, Colorado.
      Q009763000.




                                                  D
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 Debtor name Savage Resources, LLC
 United Stales Bankruptcy Court for the: CO~OYadO

 Case number (If known):                                                                                                                        ❑ Check if this is an
                                                                                                                                                  amended filing
Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                       12/15

Be as complete and accurate as possible.

1. Do any creditors have claims secured by debtor's property?
   D No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
   ❑ Yes. Fill in all of the information below.

             List Creditors Who Have Secured Claims
                                                                                                                           Column A                Column 8 _
2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one                       Amount of claim          Value of collateral
   secured claim, list the creditor separately for each claim.
                                                                                                                           Do not deduct the value that supports this
                                                                                                                           of collateral           claim
   Creditor's name                                          Describe debtor's property that is subject to a lien

                                                                                                                           $                        $
    Creditor's mailing address


                                                            Describe the lien

   Creditor's email address, if known                       is the creditor an insider or related party?
                                                            ❑ No
                                                            ❑ Yes

   Date debt was incurred                                   Is anyone else liable on this claim?
                                                            ❑ No
   Last 4 digits of account                                 ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
   number                         ____
   Do multiple creditors have an interest in the             As of the petition filing date,the claim is:
   same property?                                            Check all that apply.
   ❑ No                                                      ❑ Contingent
   ❑ Yes. Specify each creditor, including this creditor,    ❑ Unliquidated
           and its relative priority.                        ❑ Disputed



    Creditor's name                                         Describe debtor's property that is subject to a lien
                                                                                                                           $                        $

    Creditor's mailing address

                                                            Describe the lien

    Creditor's email address, if known                       Is the creditor an insider or related party?
                                                             ❑ No
                                                             ❑ Yes
                                                             Is anyone else liable on this claim?
    Date debt was incurred
                                                             ❑ No
    Last 4 digits of account                                 ❑ Yes. Fill out Schedule H: Codebtors (Official Form 2o6H).
    number                   ____
                                                             As of the petition filing date, the claim is:
    Do multiple creditors have an interest in the
    same property?                                           Check all that apply.
    ❑ No                                                     ❑ Contingent
    ❑ Yes. Have you already specified the relative           ❑ Unliquidated
           priority?                                         ❑ Disputed
       ❑ No. Specify each creditor, including this
                creditor, and its relative priority.


        ❑ Yes. The relative priority of creditors is


3. Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional                                g ~.~~
   Page, if any.


   Official Form 206D                           Schedule D: Creditors Who Have Claims Secured by Property                                               page 1 of~
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 Debtor        Savage Resources, LLC
 United States Bankruptcy Court for the: CO~OC'ad0

 Case number
 (If known)
                                                                                                                               ❑ Check if this is an
                                                                                                                                 amended filing
Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                             12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY
unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
on Schedule A/B: Assets -Real and Personal Property(Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases
(Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach
the Additional Page of that Part included in this form.

            List All Creditors with PRIORITY Unsecured Claims

 1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
    ❑ No. Go to Part 2.
   0 Yes. Go to line 2.

 z. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than
    3 creditors with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                               Total claim       Priority amount
    Priority creditor's name and mailing address            As of the petition filing date, the claim is: $ 30,000.00           $30,000.00
     Daniel Savage                                          Check all that apply.
    14610 W. Cornell Place                                  ❑ Contingent
                                                            ❑ Unliquidated
    Lakewood, Colorado 80228                                0 Disputed
    Date or dates debt was incurred                          Basis for the claim:
                                                             n~ges/SalarieG/Commissions
    02/ /2016 to present
    Last 4 digits of account                                Is the claim subject to offset?
    number      ____                                        0 No
                                                            ❑ Yes
    Specify Code subsection of PRIORITY unsecured
    claim: 11 U.S.C. § 507(a) ~4 )


    Priority creditor's name and mailing address            As of the petition filing date, the claim is: $ 3~,~~~.~0            $ 30,000.00
     Marshall Savage                                        Check all that apply.
     11710 N. Avondale Loop                                 ❑ Contingent
                                                            ❑ Unliquidated
     Hayden, Idaho 83835                                    ❑ Disputed
    Date or dates debt was incurred                          Basis for the claim:
                                                             1~~Ps/Salaries/Commissions
     02/ /2016 to present
    Last 4 digits of account                                 Is the claim subject to offset?
    number ____                                              O No
                                                             ❑ Yes
    Specify Code subsection of PRIORITY unsecured
    claim: 11 U.S.C. § 507(a)~_)


    Priority creditor's name and mailing address             As of the petition filing date, the claim is: $                     $
                                                             Check al! that apply.
                                                             ❑ Contingent
                                                             ❑ Unliquidated
                                                             ❑ Disputed
    Date or dates debt was incurred                          Basis for the claim:



    Last 4 digits of account                                 Is the claim subject to offset?
    number ___,                                              ❑ No
                                                             ❑ Yes
    Specify Code subsection of PRIORITY unsecured
    claim: 11 U.S.C.§ 507(a)~)




 Official Form 206E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                page 1 of ~ 2
         Case:16-18730-EEB Doc#:1 Filed:09/01/16                                   Entered:09/01/16 14:02:41 Page42 of 73

Debtor       Savage Resources, LLC                                                            Case number
             Name


           List All Creditors with NONPRIORITY Unsecured Claims

3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 4 creditors with nonpriority
   unsecured claims, fill out and attach the Additional Page of Part 2.
                                                                                                                         Amount of claim

    Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:
                                                                      Check all that apply.                            $ 0.00
    Ann B. Flanigan                                                   ❑ Contingent
                                                                      ❑ Unliquidated
    651 Orchard Avenue                                                ❑ Disputed
    Santa Barbara, California 93108-1522
                                                                      Basis for the claim: ROyB~tl@S

    Date or dates debt was incurred                                   Is the claim subject to offset?
                                                                      D No
    Last 4 digits of account number          ____                     ❑Yes

    Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:
                                                                      Check all that apply.
    Betsy R. Freeman                                                  ❑ Contingent
                                                                      ❑ Unliquidated
    3415 S. Clayton Blvd.                                             ❑ Disputed
    Englewood, Colorado 80113-7611
                                                                       Basis for the claim: fZOya~tl@S

    Date or dates debt was incurred                                   Is the claim subject to offset?
                                                                      B No
    Last 4 digits of account number          __                       ❑ Yes

    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:
                                                                       Check all that apply.
                                                                                                                       $ 29,230.81
    Buffalo Basin Limited Partners                                     ❑ Contingent
                                                                       ❑ Unliquidated
    P. O. Box 1926                                                     ❑ Disputed
    Rifle, Colorado 81650
                                                                       Basis for the claim: ROya~tl@S

    Date or dates debt was incurred                                   Is the claim subject to offset?
                                                                      0 No
    Last 4 digits of account number          __                       ❑ Yes

    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:
                                                                       Check all fhat apply.
                                                                                                                       $ 294,386.70
    Caerus Oil and Gas LLC
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
    1001 Seventeenth Street, Suite 1600                                D Disputed
    Denver, Colorado 80202
                                                                       Basis for the claim: ~DAS

    Date or dates debt was incurred                                    Is the claim subject to offset?
                                                                       ❑ No
    Last 4 digits of account number          __          —             ~ Yes

    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:   $Q,~~
    Charles F. Weller                                                  Check all that apply.
                                                                       ❑ Contingent
    901 Amelia Street                                                  ❑ Unliquidated
                                                                       ~ Disputed
    Sugar Land, Texas 77478
                                                                       Basis for the claim: ROya~tl@S

    Date or dates debt was incurred                                    Is the claim subject to offset?
                                                                       D No
    Last 4 digits of account number          ____                      ❑Yes

    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:   $ 0.00
    Colorado Department of Revenue                                     Check all thatapp/y.
                                                                       ❑ Contingent
    P. O. Box 17087                                                    ❑ unliquidated
                                                                       ❑ Disputed
    Denver. Colorado 80217-0087
                                                                       Basis for the claim:

    Date or dates debt was incurred                                    Is the claim subject to offset?
                                                                       O No
    Last 4 digits of account number          ____                      ❑yes



  Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                             page 2 of 12
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Debtor           Savage Resources, LLC                                                      Case number
                Name



              Additional Page


 Copy this page only if more space is needed. Continue numbering the fines sequentially from the                        Amount of claim
 previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


     Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is:
                                                                     Check allfhatapply.                              $O.00
     Continuum Energv Services, LLC                                  ❑ Contingent
                                                                     ❑ Unliquidated
                                                                     ~ Disputed
     1323 E. 71st Street, Suite 300                                  ❑ Liquidated and neither contingent nor
     Tulsa. Oklahoma 74136                                               disputed

                                                                     Basis for the claim:

                                                                     Is the claim subject to offset?
     Date or dates debt was incurred
                                                                     ❑O No
     Last 4 digits of account number                                 ❑ Yes


     Nonpriority creditor's name and mailing address
                                                                     As of the petition filing date, the claim is:    $ O.00
                                                                     Check all that apply.
         Daniel P. Fiani                                             ❑ Contingent
                                                                     ❑ Unliquidated
         651 Orchard Avenue                                          ❑ Disputed
         Santa Barbara, California 93108-1522
                                                                     Basis for the claim: Royalties
                                                                     Is the claim subject to offset?
     Date or dates debt was incurred
                                                                     O No
     Last 4 digits of account number                                 ❑ Yes


         Nonpriority creditor's name and mailing address
                                                                     As of the petition filing date, the claim is:    $ 3,265,729.17
                                                                     Check all that apply.
         Daniel W. Savage                                            ❑ Contingent
                                                                     ❑ Unliquidated
         14610 W. Cornell Place                                      ❑ Disputed
         Lakewood Colorado 80228
                                                                     Basis for the claim: loan and wages ($30,000.00 is a priority claim)
                                                                     Is the claim subject to offset?
         Date or dates debt was incurred
                                                                      X❑ No
         Last 4 digits of account number         ____                ❑Yes


         Nonpriority creditor's name and mailing address
                                                                     As of the petition filing date, the claim is:    $ 2,548,608.99
                                                                     Checl<alithatapply.
         Daniel W. Savage Dynasty Trust                              ❑ Contingent
                                                                     ❑ Unliquidated
         14610 W. Cornell Place                                      ❑ Disputed
         Lakewood Colorado 80228
                                                                     Basis for the claim: ~Oal1
                                                                     Is the claim subject to offset?
         Date or dates debt was incurred
                                                                     B No
         Last 4 digits of account number                             ❑ Yes



         Nonpriority creditor's name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                      Check all that apply.
                                                                                                                      $1,277,684.52
         Daniel W. Stroock
                                                                      ❑ Contingent
                                                                      ❑ Unliquidated
         55 Frost Street                                              ❑ Disputed
         Cambridge, Massachusetts 02140
                                                                      Basis for the claim: ~Oan
                                                                      Is the claim subject to offset?
         Date or dates debt was incurred
                                                                      O No
         Last 4 digits of account number         ____                 ❑Yes




   Official Form 206E/F                           Schedule E/F: Creditors Who Have Unsecured Claims                                       page 3 of 12
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    Debtor          Savage Resources LLC                                                         Case number l~r
                    Name



                  Additional Page


     Copy this page only if more space is needed. Continue numbering the lines sequentially from the                        Amount of claim
     previous page. If no additional NONPRIORI'fY creditors exist, do not fill out or submit this page.


  ~ Nonpriority creditor's name and mailing address
3.~                                                                      As of the petition filing date, the claim is:
                                                                         Checl<all thaf apply.                             1 11
         Ellen S. Freeman                                                ❑ Contingent
                                                                         ❑ Unliquidated
                                                                         ❑ Disputed
         3415 S. ClaYton Blvd.                                           ❑ Liquidated and neither contingent nor
         Englewood Colorado 80113-7611                                     disputed

                                                                         Basis for the claim: ROy8~t12S

                                                                        Is the claim subject to offset?
         Date or dates debt was incurred
                                                                        0 No
~        Last 4 digits of account number            ____                ❑Yes
c
                __               _---
3 13 Nonpnor't
            i y creditor s name and mailin9 address
                                                                         As of the petition filing date, the claim is:
                                                                         Check all that apply.                            $ 29,848.49
             Enterprise Gas Processing LLC                               ❑ Contingent
                                                                         ❑ Unliquidated
             1100 Louisiana Street                                        X❑ Disputed
             Houston, Texas 77002
                                                                         ea5is ror the Maim: Gas processing agreement
                                                                         Is the claim subject to offset?
         Date or dates debt was incurred
                                                                         ❑O No
         Last 4 digits of account number             ____                ❑Yes


             Nonpriority creditor's name and mailing address             As of the petition filing date, the claim is:     11/
                                                                         Check all that apply.
             Eva C. Weller                                               ❑ Contingent
                                                                         ❑ Unliquidated
             901 Amelia Street                                           ❑ Disputed
             SugarLand Texas 77478
                                                                         Basis for the claim: ROyaIt18S
                                                                         Is the claim subject to offset?
             Date or dates debt was incurred
                                                                         0 No
             Last 4 digits of account number                             ❑ Yes
                   __                 __       _.
             Nonpriority creditor's name and mailing address
                                                                         As of the petition filing date, the claim is:     1 11
                                                                         cneokanrnarappry.
             Fort Worth-Alliant Insurance Services, Inc.                  ❑ Contingent
                                                                          ❑ Unliquidated
             701 B Street 6th Floor                                       ❑ Disputed
             San Diego California 92101
                                                                          Basis for the claim:
                                                                         Is the claim subject to offset?
             Date or dates debt was incurred
                                                                         ~ No
             Last 4 digits of account number         ____                ❑ Yes



             Nonpriority creditor's name and mailing address
                                                                          As of the petition filing date, the claim is:     1 11
                                                                          Check all that apply.
             Harper Hofer &Assoc., LLC
                                                                          ❑ Contingent
                                                                          ❑ Uniiquidated
             1580 Lincoln Street, Suite 1100                              ❑ Disputed
             Denver, Colorado 80203
                                                                          Basis for the claim:
                                                                          Is the claim subject to offset?
             Date or dates debt was incurred
                                                                          OO No
             Last 4 digits of account number                              ❑ Yes




       O~cial Form 206E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                       page 4 of 12
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Debtor           Savage Resources, LLC                                                     Case number ~rrk~ow~~
                Name



              Additional Page


 Copy this page only if more space is needed. Continue numbering the lines sequentially from the                           Amount of claim
 previous page. If no additional NONPRfORITY creditors exist, do not fill out or submit this page.


     Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is:
                                                                     Check all that apply.                               $ 3,587,111.97
     Joan L. Savage                                                  ❑ Contingent
                                                                     ❑ Unliquidated
                                                                     ❑Disputed
         1122-293 Road                                               ❑ Liquidated and neither contingent nor
         Rifle Colorado 81650                                          disputed

                                                                     Basis for the claim: ~Oan

     Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     O No
     Last 4 digits of account number             ____                ❑Yes


     Nonpriority creditor's name and mailing address
                                                                     As of the petition filing date, the claim is:       $ $$ 782 ~~
                                                                     Check all that apply.
     John W. Savage                                                  ❑ Contingent
                                                                     ❑ Unliquidated
         P. O. Box 1926                                              ❑Disputed
         Rifle, Colorado 81650
                                                                     Basis for the claim: ~Oan
                                                                     Is the claim subject to offset?
     Date or dates debt was incurred
                                                                     O No
     Last 4 digits of account number             ____                ❑ Yes


         Nonpriority creditor's name and mailing address                                                           is:
                                                                     As of the petition filing date, the claim           $1,546,443.33
                                                                     Check all that apply.
         John W. Savage Dynasty Trust                                ❑ Contingent
                                                                     ❑ Unliquidated
         P. O. Box 1926                                              ❑Disputed
         Rifle Colorado 81650
                                                                     Basis for the claim: ~Oal1
                                                                     Is the claim subject to offset?
         Date or dates debt was incurred
                                                                      x❑ No
         Last 4 digits of account number                             ❑ Yes


         Nonpriority creditor's name and mailing address
                                                                     As of the petition filing date, the claim is:       ~ 4,$$~ ,851.74
                                                                     cneokaarnaraP,ory.
         JOJO Properties Ltd.                                        ❑ Contingent
                                                                     ❑ Unliquidated
         P. O. Box 1926                                              ❑Disputed
         Rifle Colorado 81650
                                                                     Basis for the claim: IOall
                                                                     Is the claim subject to offset?
         Date or dates debt was incurred
                                                                     B No
         Last 4 digits of account number         ____                ❑ Yes



         Nonpriority creditor's name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                         $ ~.~~
                                                                     Checl<all that apply.
         Karsh Consulting PC
                                                                     ❑ Contingent
                                                                     ~ Unliquidated
         650 S. Cherry Street, Suite 500                             ❑ Disputed
         Denver, Colorado 80246
                                                                      Basis for the claim:
                                                                      Is the claim subject to offset?
         Date or dates debt was incurred
                                                                      O No
         Last 4 digits of account number                              ❑ Yes




   Official Form 206E/F                           Schedule E/F: Creditors Who Have Unsecured Claims                                          page 5 of 12
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Debtor          Savage Resources, LLC                                                      Case number
                Name



              Additional Page


 Copy this page only. if more space is needed. Continue cumbering the lines sequential4y from the                       Amount of claim
 previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


     Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is:
                                                                     Check all that apply.                           $ O.00
     Kenneth A. Breitenbach                                          ❑ Contingent
                                                                     ❑ Unliquidated
                                                                     ❑ Disputed
     410 17th Street, #1151                                          ❑ Liquidated and neither contingent nor
     Denver. Colorado 80202                                              disputed

                                                                     Basis for the claim: ROya~tl@S

                                                                     Is the claim subject to offset?
     Date or dates debt was incurred
                                                                     O No
     Last 4 digits of account number            __                   ❑ Yes


     Nonpriority creditor's name and mailing address
                                                                     As of the petition filing date, the claim is:   $ 0.00
                                                                     Check all that apply.
         Laura S. Marion                                             ❑ Contingent
                                                                     ❑ Unliquidated
         1844 Orchard Avenue                                         ❑ Disputed
         Boulder, Colorado 80304
                                                                     Basis for the claim: ROyaltl@S
                                                                     Is the claim subject to offset?
     Date or dates debt was incurred
                                                                     O No
     Last 4 digits of account number            ___                  ❑ Yes


     Nonpriority creditor's name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                     g ~.~0
                                                                     Check all that apply.
         Malu Lani Oil &Gas Com               Inc.                   ❑ Contingent
                                                                     ❑ Unliquidated
         P O Box 621128                                              ❑ Disputed
         Littleton. Colorado 80162-
                                                                     Basis for the claim: ROyaltles
         Date or dates debt was incurred                             Is the claim subject to offset?
                                                                      X❑ No
         Last 4 digits of account number        --_—                 ❑ Yes


         Nonpriority creditor's name and mailing address
                                                                     As of the petition filing date, the claim is:   $ 2 $74 7~$ 97
                                                                     Check all that apply.
         Marshall T. Savage                                          ❑ Contingent
                                                                     ❑ Uniiquidated
         11710 N Avondale Loop                                       ❑ Disputed
         Hayden Idaho 83835
                                                                     Basis for the claim: loan and wages($30 000.00 is a priority claim)
                                                                     Is the claim subject to offset?
         Date or dates debt was incurred
                                                                     B No
         Last 4 digits of account number                             ❑ Yes



         Nonpriority creditor's name and mailing address
                                                                     As of the petition filing date, the claim is:   $ 2,565,753.21
                                                                     Check all that apply.
         Marshall T. Savage Dynasty Trust
                                                                     ❑ Contingent
                                                                     ❑ Unliquidated
         11710 N. Avondale Loop                                      ❑ Disputed
         Hayden, Idaho 83835
                                                                      Basis for the claim: ~Oan
                                                                      Is the claim subject to offset?
         Date or dates debt was incurred
                                                                      D No
         Last 4 digits of account number         ____                 ❑ Yes




   Official Form 206E/F                           Schedule E/F: Creditors Who Have Unsecured Claims                                       page 6 of 12
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Debtor           Savage Resources LLC                                                      Case number
                Name



              Additional Page


 Copy this page only if more space. is needed. Continue numbering the lines sequentially from the                         Amount of claim
 previous page. if no additional NONPRIORITY creditors exist, do not fill out or submit this page.


     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:        O.00
                                                                    Check all that apply.                            $
         Middle Fork Minerals LLC                                   ❑ Contingent
                                                                    ❑ Unliquidated
                                                                    ❑ Disputed
          • C•         •:•                                          ❑ Liquidated and neither contingent nor
     Casper Wyoming 82602                                               disputed

                                                                     Basis for the claim: ROyaItleS

                                                                     Is the claim subject to offset?
     Date or dates debt was incurred
                                                                     O No
     Last 4 digits of account number            __                   ❑ Yes


     Nonpriority creditor's name and mailing address
                                                                     As of the petition filing date, the claim is:   $ O.00
                                                                     Check all that apply.
         Midhill, a Partnershi                                       ❑ Contingent
                                                                     ❑ Unliquidated
         P O Box 2680                                                ❑ Disputed
         Casper Wyoming 82602
                                                                     Basis for the claim: ROya~tl@S
                                                                     Is the claim subject to offset?
     Date or dates debt was incurred
                                                                     O No
     Last 4 digits of account number             ____                ❑Yes


         Nonpriority creditor's name and mailing address
                                                                     As of the petition filing date, the claim is:   $x.00
                                                                     Check all that apply.
         Omaha Beach LLC                                             ❑ Contingent
                                                                     ❑ Unliquidated
         c/o Thomas Niebrugqe 9981 E. Progress Circle                ❑ Disputed
         Greenwood Village Colorado 80111
                                                                     Basis for the claim: RO /~altieS
                                                                     Is the claim subject to offset?
         Date or dates debt was incurred
                                                                      x0 No
         Last 4 digits of account number         ____                ❑Yes

           _---       _-
         Nonpriority creditor's name and mailing address
                                                                     As of the petition filing date, the claim is:   $ 0.0~
                                                                     Check all that apply.
         Peter C. Freeman                                            ❑ Contingent
                                                                     ❑ Unliquidated
         3415 S Cla~on Blvd.                                         ❑ Disputed
         Englewood Colorado 80113-7611
                                                                     Basis for the claim: fZOya~t12S
                                                                     Is the claim subject to offset?
         Date or dates debt was incurred
                                                                     B No
         Last 4 digits of account number         ____                ❑Yes



         Nonpriority creditor's name and mailing address
                                                                     As of the petition filing date, the claim is:   $ 0.00
                                                                     Check all that apply.
         Red Dog Systems, II1C.
                                                                     ❑ Contingent
                                                                     ~ Unliquidated
         639 5th Avenue SW, Suite 1100                               ❑ Disputed
         Calgary Canada AB T2P OM9
                                                                      Basis for the claim:
                                                                     Is the claim subject to offset?
         Date or dates debt was incurred
                                                                     D No
         Last 4 digits of account number         ____                ❑ Yes




   Official Form 206E/F                           Schedule E/F: Creditors Who Have Unsecured Claims                                         page 7 of 12
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Debtor           Savage Resources, LLC                                                      Case number
                Name



              Additional Page


     Copy this page only if more space is needed.-Continue numbering the lines sequentially from the                     Amount of claim
     previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


        Nonpriority creditor's name and mailing address               As of the petition filing date, the claim is:     7
                                                                      Check all that apply.                            $ 2 250.41
         Red Rock Gatherinq Company, LLC                              ❑ Contingent
                                                                      ❑ Unliquidated
                                                                      O Disputed
         999 18th Street, Suite 3400S                                 ❑ Liquidated and neither contingent nor
                                                                          disputed
         Denver, Colorado 80202
                                                                      says for the ~ia~m: transportation charges
                                                                      Is the claim subject to offset?
        Date or dates debt was incurred
                                                                      ❑ No
        Last 4 digits of account number          ____                 ❑O Yes


         Nonpriority creditor's name and mailing address
                                                                      As of the petition filing date, the claim is:    $ 698,518.27
                                                                      Check all that apply.
         Red Rock Gathering Company LLC                               ❑ Contingent
                                                                      ❑ Unliquidated
         999 18th Street, Suite 3400S                                 0 Disputed
         Denver, Colorado 80202
                                                                      sass rortne ~ia~m: throughput penalty
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred
                                                                       ❑ No
         Last 4 digits of account number         ____                  B Yes


         Nonpriority creditor's name and mailing address               As of the petition filing date, the claim is:   $ 4,169,896.21
         Roy E. Savage                                                 ❑eContingen~ply
                                                                       ❑ Uniiquidated
          1122-293 Road                                                ❑ Disputed
          Rifle, Colorado 81650
                                                                       Basis for the claim: ~Oall
                                                                       is the claim subject to offset?
         Date or dates debt was incurred
                                                                        x❑ No
         Last 4 digits of account number                               ❑ Yes


         Nonpriority creditor's name and mailing address
                                                                       As of the petition filing date, the claim is:   $ 2,592,984.16
                                                                       Check all that apply.
         Roy E Savage Dynasty Trust                                    ❑ Contingent
                                                                       ❑ Uniiquidated
          1122-293 Road                                                ❑Disputed
          Rifle Colorado 81650
                                                                       Basis for the claim: ~Oall
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred
                                                                       ~ No
         Last 4 digits of account number          ____                 ❑Yes
i
i
    3.36 Nonpriority creditor's name and mailing address
                                                                       As of the petition filing date, the claim is:   $ ~.~0
                                                                       Check all that apply.
         State of Colorado, Oil and Gas Conservation Commission
                                                                       ❑ Contingent
                                                                       ~ Unliquidated
          1120 Lincoln Street, Suite #801                              ❑ Disputed
          Denver, Colorado 80203
                                                                       Basis for the claim:
i                                                                      Is the claim subject to offset?
j        Date or dates debt was incurred
                                                                       O No
         Last 4 digits of account number          _                    ❑ Yes




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    Debtor           Savage Resources, LLC                                                       Case number qtr
                    Name



                  Additional Page


i       Copy Phis page onty if more space is needed. Continue numbering the lines sequentially from the                      Amount of claim
l       previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


           Nonpriority creditor's name and mailing address               As of the petition filing date, the claim is:
                                                                         Check all that apply.                            g ~.~~
           Susan Heiss                                                   ❑ Contingent
                                                                         ❑ Unliquidated
                                                                         ❑ Disputed
             P 0 Box 2680                                                ❑ Liquidated and neither contingent nor
             Casper Wyoming 82602                                            disputed

                                                                         Basis for the claim: ROya~tl@S

                                                                         Is the claim subject to offset?
           Date or dates debt was incurred
                                                                         D No
           Last 4 digits of account number                               ❑ Yes


           Nonpriority creditor's name and mailing address
                                                                         As of the petition filing date, the claim is:
                                                                         Check all thaE apply.
                                                                                                                          $ 283,249.69
           Tami A. Savage                                                ❑ Contingent
                                                                         ❑ Unliquidated
             11710 N. Avondale Loop                                      ❑ Disputed
             Hayden, Idaho 83835
                                                                          Basis for the claim: ~Oan
                                                                         Is the claim subject to offset?
           Date or dates debt was incurred
                                                                         OO No
           Last 4 digits of account number                               ❑ Yes


             Nonpriority creditor's name and mailing address
                                                                          As of the petition filing date, the claim is:   $ UnknOWn
                                                                          Check all that apply.
             Trinity Petroleum Management LLC                             ❑ Contingent
                                                                          ❑ Unliquidated
             1660 Lincoln Street, Suite 2100.                             ❑ Disputed
             Denver, Colorado 80265
                                                                          Basis for the claim:

             Date or dates debt was incurred                              Is the claim subject to offset?
                                                                          O No
             Last 4 digits of account number         ____                 ❑Yes


             Nonpriority creditor's name and mailing address
                                                                          As of the petition filing date, the claim is:   $ 0.0~
                                                                          Check all that apply.
             Wells Fargo Bank N.A. WF Business Direct                     ❑ Contingent
                                                                          ❑ Unliquidated
             P. 0. Box 29482                                              ❑Disputed
             Phoenix Arizona 85038-8650
                                                                          Basis for the claim: ~08I1
                                                                          Is the claim subject to offset?
             Date or dates debt was incurred
                                                                          ~ No
             Last 4 digits of account number         __                   ❑ Yes



             Nonpriority creditor's name and mailing address
                                                                          As of the petition filing date, the claim is:
                                                                          Check all that apply.
                                                                                                                          $ 0.00
             William Heiss
                                                                          ❑ Contingent
                                                                          ❑ Unliquidated
             P O Box 2680                                                 ❑ Disputed
             Casper Wyoming 82602
                                                                          Basis for the claim: ROy8~t12S

             Date or dates debt was incurred                              Is the claim subject to offset?
                                                                          ❑O No
    ~        Last4digitsofaccountnumber              ____                 ❑Yes




         Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                        page 9 of 12
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    Debtor           Savaqe Resources LLC                                                        Case number ~itknown>
                    Name



                  Additional Page


      Gopy this page only if more space is needed. Continue numbering the lines sequentially from the                       Amount of claim
      previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


         Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:
                                                                        Check all that apply.                             582,456.58
         WPX Enerav Inc.                                                ❑ Contingent
                                                                        ❑ Unliquidated
                                                                        0 Disputed
         21237 Network Place                                            ❑ Liquidated and neither contingent nor
         Chicago Illinois 60673-1212                                        disputed

                                                                         Basis for the claim: ~OAs

         Date or dates debt was incurred                                Is the claim subject to offset?
                                                                        ❑ No
f        Last 4 digits of account number            ____                0 Yes

               --                                  _..
    3,43 Nonpriority creditor's name and mailing address
                                                                         As of the petition filing date, the claim is:   $ O.00
                                                                         Check all that apply.
                                                                         ❑ Contingent
                                                                         ❑ Uniiquidated
                                                                         ❑ Disputed

                                                                         Basis for the claim:
i
                                                                         Is the claim subject to offset?
         Date or dates debt was incurred
                                                                         O No
         Last 4 digits of account number            ____                 ❑ Yes

                                                       __
    3.44 Nonpriority creditor's name and mailing address
                                                                         As of the petition filing date, the claim is:
                                                                         Check all that apply.
                                                                         ❑ Contingent
                                                                         ❑ Unliquidated
                                                                         ❑ Disputed

i                                                                        Basis for the claim:
i
                                                                         Is the claim subject to offset?
             Date or dates debt was incurred
                                                                         ❑ No
             Last 4 digits of account number         ____                ❑ Yes
i
              -_.           _    --
    3.45 Nonpriority creditor's name and mailing address
                                                                         As of the petition filing date, the claim is:
                                                                         Check all that apply.
                                                                         ❑ Contingent
                                                                         ❑ Unliquidated
                                                                         ❑ Disputed

                                                                         Basis for the claim:
                                                                         Is the claim subject to offset?
             Date or dates debt was incurred
                                                                         ❑ No
             Last 4 digits of account number         ____                ❑ Yes


                             __                      __-   -
             Nonpriority creditor's name and mailing address
                                                                         As of the petition filing date, the claim is:
                                                                         Check ail that apply.
                                                                         ❑ Contingent
                                                                         ❑ Unliquidated
                                                                         ❑ Disputed

                                                                          Basis for the claim:
                                                                         Is the claim subject to offset?
             Date or dates debt was incurred
                                                                         ❑ No
             Last 4 digits of account number                             ❑ Yes




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 Debtor             Savage Resources LLC                                                          Case number~ifknown>
                    Name



                     List Others to Be Notified About Unsecured Claims


4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.
   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.


              Name and mailing address                                                     On which line in Part 1 or Part 2 is the        Last 4 digits of
                                                                                           related creditor (if any) listed?               account number, if
                                                                                                                                           any
                                                                                                                                                                      l

'~a.~.       Fairfield and Woods, P.C.                                                     pine 3 3
             Constance D. Smith, Esq., 1801 California Street, Suite 2600     ❑ Not listed. Explain                                       ———            —
             Denver, Colorado 80202-2645                               _ ....
'4z.         Davis Graham &Stubbs LLP                                         dine 3.4
                                                                                                                                                                      i
             Laura Gill Esq., 1550 17th Street Suite 500                      ❑ Not listed. Explain                                        ———           —
             Denver, Colorado 80202
'''a.3.      Akerman LLP                                                                   ur,e 3.32
             Melissa L. Cizmorris Esq., 1400 Wewatta Street, Suite 500                     ❑      Not listed. Explain                      ———           —
             Denver, Colorado 80202
'a.4.        Akerman LLP                                                                   ~ir,e 3.32
             Amv M. Leitch Esq. 50 North Laura Street, Suite 3100                          ❑      Not listed. Explain                      ———           —
             Jacksonville Florida 32202-3646
!'a.5.       Akerman LLP                                                                   Line 3_33

             Melissa L. Cizmorris Esq. 1400 Wewatta Street, Suite 500                      ❑      Not listed. Explain                      ———           —
             Denver Colorado 80202
 4.s.        Akerman LLP                                                                   Line 3_33

             Amy M. Leitch Esq. 50 North Laura Street, Suite 3100                          ❑      Not listed. Explain                      — — — —
             Jacksonville Florida 32202-3646
~q,7,                                                                                      Line _
                                                                                           ❑      Not listed. Explain                      — — — —


,4.8.                                                                                      Line                                                                           f
                                                                                           ❑      Not listed. Explain                      — — — —


 4.9.                                                                                      Line
                                                                                           ❑      Not listed. Explain                      — — — —


 ++4.10.                                                                                   Line
                                                                                           ❑      Not listed. Explain                      — — — —
                                                                                                                                                                          i
                           __                                                            _._       ___    ___ _                 _          -    ---     - _--- -          i
'4.11.                                                                                     Line
                                                                                           ❑      Not listed. Explain                      — — — —
                                                                                                                                                                          i

 4.12.
                                                                                           Line
                                                                                           ❑      Not listed. Explain                      — — — —




          Official Form 206E/F                     Schedule E/F: Creditors Who Have Unsecured Claims                                                  page 11 of 12
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Debtor       Savage Resources LLC                                               Case number ~~r
             Name



            Total Amounts of the Priority and Nonpriority Unsecured Claims


5. Add the amounts of priority and nonpriority unsecured claims.




                                                                                                        Total of claim amounts



                                                                                              5a.       860,000.00
Sa. Total claims from Part 1




5b. Total claims from Part 2                                                                  5b.   f   $31,389,565.22



5c. Total of Parts 1 and 2                                                                    5~.       $ 31,449,565.22
    Lines 5a + 5b = 5c.




   Official Form 206E/F                     Schedule E/F: Creditors Who Have Unsecured Claims                                    page 12 of 12
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    Debtor name Savage Resources, LLC

    United States Bankruptcy Court for the: Colorado

    Case number (If known):                                          Chapter      ~


                                                                                                                                      ❑ Check if this is an
                                                                                                                                        amended filing

Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                              12/15

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.

    1. Does the debtor have any executory contracts or unexpired leases?
     ❑ No. Check this box and file this form with the court with the debtor's other schedules. There is nothing else to report on this form.
     0 Yes. Fill in ail of the information below even if the contracts or leases are listed on Schedule A/8.~ Assets -Real and Personal Property (Official
     Form 206A/6).
1 2. List all contracts and unexpired leases                                                State the name and mailing address for all other parties with
                                                                                            whom the debtor has an executory contract or unexpired
                                                                                            lease

          i State what the contract or        Service Agreement with Enterprise Gas       Enterprise Gas Processing, LLC
    2.1     lease is for and the nature                                                  1100 Louisana St.
                                              See Attachment 1
          j of the debtor's interest

            State the term remaining          January 1, 2028
                                                                                          Houston                          Texas              77002
            List the contract number of
            any government contract


         State what the contract or           Joint Exploration and Development           Caerus Oil and Gas LLC
    2,2' lease is for and the nature          See Attachment 2                            1001 Seventeenth Street, Suite 1600
         of the debtor's interest

            State the term remaining          May 21, 2017
                                                                                          Denver                           Colorado           80202
             List the contract number of
             any government contract


            State what the contract or        Gas Gathering Agreement with Canyon         Red Rock Gathering Company
    2.3     (ease is for and the nature                                                   999 18th Street, Suite 3400S
                                              See Attachment 3
            of the debtor's interest
 -- -
r            State the term remaining         See Attachment 3
                                                                                          Denver                           Colorado           80202
             List the contract number of
             any government contract


    24       State what the contract or       Joint Operating Agreement with Wililams     WPX Energy Inc.
             lease is for and the nature                                                  21237 Network PI.
                                              See Attachment 4
             of the debtor's interest

             State the term remaining         indefinte
                                                                                          Chicago                          Illinois           60673-1212
             List the contract number of
3            any government contract
i

             State what the contract or       Joint Operating Agreement with Williams     WPX Energy Inc.
~ 2.5 =      lease is for and the nature                                                  21237 Network PI.
                                              See Attachment 5
       j     of the debtor's interest
{_ _---
i
             State the term remaining         indefinite
                                                                                          Chicago                          Illinois           60673-1212
             List the contract number of
             any government contract



    Official Form 206G                           Schedule G: Executory Contracts and Unexpired Leases                                       page 1 of 6
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Debtor             Savage Resources, LLC                                                    Case number err
                   Name




■ Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

             Copy this page only if more space is needed. Continue numbering the (fines sequential4y from the previous page,

        List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                       whom the debtor has an executory contract or unexpired
                                                                                       lease


             State what the contract or     Joint Operating Agreement with Williams
j 26 ~       lease is for and the nature                                               21237 Network PI.
                                            See Attachment 6
             of the debtor's interest

             State the term remaining       indefinite
                                                                                        Chicago                                Illinois    60673-1212
~            List the contract number of
             any government contract


        State what the contract or          Joint Operating Agreement with Noble
t 2.Z ~ (ease is for and the nature                                                    1001 Seventeenth Street, Suite 1600
                                            See Attachment 7
        of the debtor's interest

             State the term remaining       indefinite                                                                                     80202
                                                                                        Denver                                Colorado
             List the contract number of
             any government contract


             State what the contract or     Joint Operating Agreement with Noble
             lease is for and the nature                                               1001 Seventeenth Street, Suite 1600
                                            See Attachment 8
             of the debtor's interest

             State the term remaining       indefinite                                                                                     80202
                                                                                        Denver                                Colorado
             List the contract number of
             any government contract

             State what the contract or     Joint Operating Agreement with Noble
             lease is for and the nature                                                1001 Seventeenth Street, Suite 1600
                                            See Attachment 9
             of the debtor's interest

             State the term remaining       indefinite                                                                                     80202
                                                                                        Denver                                Colorado
              List the contract number of
              any government contract


             State what the contract or     Gas Marketing Agreement between Joan
    i 2.10   lease is for and the nature
                                            See Attachment 10
             of the debtor's interest

              State the term remaining
              List the contract number of
              any government contract

              State what the contractor      Exclusive Site Lease granted to Savage
     2.11     lease is for and the nature   See Attachment 11
              of the debtor's interest
    ~—
    I         State the term remaining      December 2027
              List the contract number of
              any government contract

            State what the contract or       Agreement to Consolidate Leasehold
    '! 2.12 lease is for and the nature      See Attachment 12
            of the debtor's interest

              State the term remaining
              List the contract number of
              any government contract



      Official Form 206G                       Schedule G: Executory Contracts and Unexpired Leases                                       page 2 of 6
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Debtor         Savage Resources, LLC                                                    Case number or
               Name




■ Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

     List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contractor unexpired
                                                                                  lease


      ~ State what the contract or      Oil and Gas Lease dated June 13, 2007,
j 2.13; lease is for and the nature
                                        See Attachment 13
        of the debtor's interest

         State the term remaining
         List the contract number of
         any government contract


         State what the contract or     Oil and Gas Lease dated June 13 2007,
         lease is for and the nature
                                        See Attachment 14
         of the debtor's interest

         State the term remaining
         List the contract number of
         any government contract


         State what the contract or     Oil and Gas Lease dated June 13, 2007,
         lease is for and the nature
                                        See Attachment 15
         of the debtor's interest

         State the term remaining
         List the contract number of
         any government contract

         State what the contract or     Oil and Gas Lease dated June 13, 2007,
         lease is for and the nature
                                        See Attachment 16
         of the debtor's interest

         State the term remaining
         List the contract number of
         any government contract


         State what the contract or     Oil and Gas Lease dated June 13, 2007,
         lease is for and the nature
                                        See Attachment 17
         of the debtor's interest

         State the term remaining
          List the contract number of
          any government contract
     i
      f State what the contract or      Oil and Gas Lease dated June 13, 2007,
  2.18 lease is for and the nature      See Attachment 18
        of the debtor's interest

          State the term remaining
          List the contract number of
          any government contract

      j State what the contract or      Oil and Gas Lease dated June 13, 2007,
  2.19 lease is for and the nature      See Attachment 19
        of the debtor's interest

          State the term remaining
          List the contract number of
          any government contract



   Official Form 206G                     Schedule G: Executory Contracts and Unexpired Leases                                    page 3 of 6
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Debtor          Savage Resources, LLC                                                  Case number ~rfk~ow~>
               Name




■ Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

     List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contractor unexpired
                                                                                  lease


         State what the contract or     OiI and Gas Lease dated June 13, 2007,
         lease is for and the nature
         of the debtor's interest       See Attachment 20

         State the term remaining
         List the contract number of
         any government contract


     i State what the contractor        Oil and Gas Lease dated June 13, 2007,
 2.~1: lease is for and the nature
     i of the debtor's interest         See Attachment 21

         State the term remaining
         List the contract number of
         any government contract


         State what the contractor      Oil and Gas Lease dated June 13, 2007,
         lease is for and the nature
         of the debtor's interest       See Attachment 22

         State the term remaining
         List the contract number of
         any government contract

         State what the contract or     Oil and Gas Lease dated June 13, 2007,
         lease is for and the nature
                                        See Attachment 23
         of the debtor's interest

         State the term remaining
         List the contract number of
         any government contract


     ', State what the contract or      Oil and Gas Lease dated June 13, 2007,
 2.24, lease is for and the nature
        of the debtor's interest        See Attachment 24

         State the term remaining
         List the contract number of
         any government contract

     ': State what the contractor       Oil and Gas Lease dated June 13, 2007,
 2.25 lease is for and the nature
                                        See Attachment 25
     i of the debtor's interest

         State the term remaining
         List the contract number of
         any government contract
   _._
         State what the contractor      COC67544, Oil and Gas Lease dated
 2.zs    lease is for and the nature
                                        See Attachment 26
         of the debtor's interest

         State the term remaining
         List the contract number of
         any government contract



  Official Form 206G                      Schedule G: Executory Contracts and Unexpired Leases                                   page 4 of 6
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Debtor            Savage Resources, LLC                                                    Case number
                  Name




■ Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

            Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

          List all contracts and unexpired leases                                     State the name and mailing address for all other parties with
                                                                                      whom the debtor has an executory contractor unexpired
                                                                                      lease

1i     I State what the contractor         COC66921, Oil and_ Gas Lease dated                                                                         ~E
 i 227I lease is for and the nature
                                           See Attachment 27
         of the debtor's interest

            State the term remaining
            List the contract number of
            any government contract


            State what the contract or     Oil and Gas Lease dated December 20,
i 2.2g      lease is for and the nature
      I     of the debtor's interest       See Attachment 28

            State the term remaining
i
            List the contract number of
            any government contract

- -,
            State what the contract or     Oil and Gas Lease dated November 18,
    2.2s    lease is for and the nature
                                           See Attachment 29
            of the debtor's interest

            State the term remaining
i
i           List the contract number of
            any government contract

         I State what the contractor       Oil and Gas Lease dated December 20,
     2.30 lease is for and the nature      See Attachment 30
         i of the debtor's interest

            State the term remaining
i
            List the contract number of
            any government contract

     --
         ': State what the contractor      Oii and Gas Lease dated June 21, 2004,
     2.31j lease is for and the nature
            of the debtor's interest       See Attachment 31

            State the term remaining
            List the contract number of
            any government contract

            State what the contract or     Oil and Gas Lease dated April 19, 2006,
     2.32   lease is for and the nature
                                           See Attachment 32
            of the debtor's interest

            State the term remaining
             List the contract number of
'            any government contract

    i_.--
           State what the contract or      C00070016, Oil and Gas Lease dated
     2.33' lease is for and the nature     See Attachment 33
           of the debtor's interest

             State the term remaining
             List the contract number of
             any government contract



      Official Form 206G                     Schedule G: Executory Contracts and Unexpired Leases                                    page 5 of 6
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Debtor                 Savage Resources, LLC                                                 Case number (rr
                      Name




■ Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

                Copy this page only if more.space is needed. Continue numbering the tines sequentially from the previous page.

            List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                                       whom the debtor has an executory contractor unexpired
                                                                                       lease


                State what the contract or     COC67543, Oil and Gas Lease dated
                lease is for and the nature
                                               See Attachment 34
                of the debtor's interest

                State the term remaining
                List the contract number of
                any government contract


                State what the contractor      Amended and Restated Oil and Gas
                lease is for and the nature
                                               See Attachment 35
                of the debtor's interest

                State the term remaining
                List the contract number of
                any government contract
........ _...
         State what the contract or            Oil and Gas Lease dated December 12,
    2.3s lease is for and the nature
                                               See Attachment 36
         of the debtor's interest

                State the term remaining
                List the contract number of
~               any government contract

                State what the contractor      Oil and Gas Lease dated December 12,
                lease is for and the nature
                                               See Attachment 37
                of the debtor's interest

                State the term remaining
                List the contract number of
                any government contract


         State what the contractor             Oil and Gas Lease dated November 17,
    2.38 lease is for and the nature
                                               See Attachment 38
         of the debtor's interest

                State the term remaining
                List the contract number of
                any government contract

                State what the contract or
                lease is for and the nature
                of the debtor's interest

                State the term remaining
                 List the contract number of
                 any government contract

                State what the contract or
                lease is for and the nature
                of the debtor's interest

                 State the term remaining
                 List the contract number of
                 any government contract



      Official Form 206G                         Schedule G: Executory Contracts and Unexpired Leases                                 page 6 of 6
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                                Attachment 1/6
                  Debtor: Savage Resources, LLC                  Case No:

      Attachment 1
          Processing LLC to extract natural gas liquids.

      Attachment 2
          Agreement to develop natural gas and oil within a defined area of mutual interest;
          Originally with Noble Energy. Agreement was assigned by Noble Energy to Caerus
          Oil and Gas LLC.

      Attachment 3
          Resources, LLC to gather and ship natural gas. Originally with Canyon Resources, the
          agreement was assigned to Red Rock Gathering Co. The term was originally until
          February 28, 2016. Savage Resources considers the agreement to be terminated.
          Effective March 1, 2016, Red Rocic terminated gathering services and left Savage
          Resources gas shut in at the well head.
      Attachment 3
          The term was extended until 2019 by Amendment. The Amendment is disputed.

      Attachment 4
          Production Co. for Section 32, T.6S, R. 94W., 6th PM. Williams is the operator of
          wells that Savage Resources owns a working interest in on Section 32. Williams now
          operates under the name WPX Energy Inc.

      Attachment 5
          Production Co. for section 6, T.7S, R. 94W., 6th PM. Williams is the operator of
          wells that Savage Resources owns a working interest in on Section 6. Williams now
          operates under the name WPX Energy Inc.

      Attachment 6
          Production Co. for section 7, T.7S, R. 94W., 6th PM. Williams is the operator of
          wells that Savage Resources owns a working interest in on Section 7, Williams now
          operates under the name WPX Energy Inc.

      Attachment 7
          Energy for section 5, T.7S, R. 94W.,6th PM.Noble was the operator of the wells that
          Savage Resources owns a working interest in on Section 5. The JOA was assigned to
          Caerus Oil and Gas LLC.

      Attachment 8
           Energy for section 8, T.7S, R. 94W., 6th PM.Noble was the operator of the wells that
           Savage Resources owns a working interest in on Section 8. The JOA was assigned to
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                               Attachment 2/6
                 Debtor: Savage Resources, LLC                  Case No:

          Caerus Oil and Gas LLC.

     Attachment 9
          Energy for section 17, T.7S, R. 94W., 6th PM. Noble was the operator ofthe wells
          that Savage Resources owns a working interest in on Section 17. The JOA was
          assigned to Caerus Oil and Gas LLC.

     Attachment 10
          L. Savage, and Savage Resources, LLC dated June 27, 2007. Joan L. Savage entered
          into the agreement as nominee for Buffalo Basin Limited Partnership. By letter
          agreement dated July 5, 2016, effective March 1, 2016, this Agreement was
          terminated.

      Attachment 11
          Resources, LLC executed by Joan L. Savage as nominee for Buffalo Basin Limited
          Partnership related to Gas Equipment on 5.74 acres in the NE 1/4 of Section 8,
          Township 7 South, Range 94 West, of the 6th Prinicipal Meridian, County of Garfield,
          State of Colorado. The Agreement was excuted on December 14, 2007 and has a 20
          year term.

      Attachment 12
          Drilling Commitments Among Joan L. Savage, Charles B. Williams, William Baylor
          Barnett, Savage Resources, LLC, and Noble Energy, Inc., as amended and extended.
          Joan L. Savage entered into the Agreement as nominee for Buffalo Basin Limited
          Partnership. Noble Energy assigned this Agreement to Caerus Oil and Gas LLC.
          Pursuant to this Agreement, Savage Resources has a 48%interest in the leases
          described in items 2.14 through 2.36.

      Attachment 13
          by and between Joan L. Savage and Savage Resources, LLC covering lands in
          T7S-R94W, 6th P.M., Section 5, covering 240.00 acres, more or less, Memorandum of
          Lease recorded in Book 1947,Page 0502, Garfield County, Colorado.

      Attachment 14
          by and between Joan L. Savage and Savage Resources, LLC covering lands in
          T7S-R94W,6th P.M., Section 8, covering approximately 200.00 acres, more or less,
          Memorandum of Lease recorded in Boolc 1947, Page 0504, Garfield County,
          Colorado.

      Attachment 15
          by and between Joan L. Savage and Savage Resources, LLC covering lands in
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                               Attachment 3/6
                 Debtor: Savage Resources, LLC                 Case No:

          T7S-R94W, 6th P.M., Section 19, covering 248.58 acres, more or less, Memorandum
          of Lease recorded in Boolc 1947, Page 0506, Garfield County, Colorado.

      Attachment 16
          by and between Joan L. Savage and Savage Resources, LLC covering lands in
          T7S-R95W, 6th P.M., Section 24, covering approximately 382.00 acres, more or less,
          Memorandum of Lease recorded in Boolc 1947, Page 0508, Garfield County,
          Colorado.

      Attachment 17
          by and between Joan L. Savage and Savage Resources, LLC covering lands in
          T7S-R94W, 6th P.M., Section 29, covering approximately 631.49 acres, more or less,
          Memorandum of Lease recorded in Boolc 1947, Page 0520, Garfield County,
          Colorado.

      Attachment 18
          by and between Joan L. Savage and Savage Resources, LLC covering lands in
          T7S-R94W, 6th P.M., Section 30, covering approximately 150.64 acres, more or less,
          Memorandum of Lease recorded in Boolc 1947, Page 0524, Garfield County,
          Colorado.

      Attachment 19
          by and between Joan L. Savage and Savage Resources, LLC covering lands in
          T7S-R94W, 6th P.M., Section 32, covering approximately 134.65 acres, more or less,
          Memorandum of Lease recorded in Book 1947, Page 0510, Garfield County, Colorado

      Attachment 20
          by and between Charles B. Williams and Savage Resources, LLC covering lands in
          T7S-R94W,6th P.M., Section 29, covering approximately 631.49 acres, more or less,
          Memorandum of Lease recorded in Book 1947, Page 0518, Garfield County,
          Colorado.

      Attachment 21
          by and between Charles B. Williams and Savage Resources, LLC covering lands in
          T7S-R94W, 6th P.M., Section 30, covering approximately 150.64 acres, more or less,
          Memorandum of Lease recorded in Boolc 1947, Page 0522, Garfield County,
          Colorado.

      Attachment 22
          by and between Charles B. Williams and Savage Resources, LLC covering lands in
          T7S-R94W, 6th P.M., Section 32, covering approximately 134.65 acres, more or less,
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                               Attachment 4/6
                 Debtor: Savage Resources, LLC                 Case No:

          Memorandum of Lease recorded in Boolc 1947, Page 0512, Garfield County,
          Colorado.

      Attachment 23
          by and between William Baylor Barnett and Savage Resources, LLC covering lands in
          T7S-R94W, 6th P.M., Section 29, covering approximately 631.49 acres, more or less,
          Memorandum of Lease recorded in Book 1947, Page 0514, Garfield County,
          Colorado.

      Attachment 24
          by and between William Baylor Barnett and Savage Resources, LLC covering lands in
          T7S-R94W, 6th P.M., Section 30, covering approximately 150.64 acres, more or less,
          Memorandum of Lease recorded in Book 1947,Page 0526, Garfield County,
          Colorado.

      Attachment 25
          by and between William Baylor Barnett and Savage Resources, LLC covering lands in
          T7S-R94W, 6th P.M., Section 32, covering approximately 134.65 acres, more or less,
          Memorandum of Lease recorded in Boolc 1947, Page 0516, Garfield County,
          Colorado.

      Attachment 26
          effective September 1, 2004, from USA BLM to Apollo Energy LLC, covering
          736.000 acres in T7S-R94W,6th P.M., Sections 19, 20 and 30, Recorded in Book
          1633, Page 118, Garfield County, Colorado. Q004965000.
      Attachment 27
          effective September 1, 2003, from USA BLM to Apollo Energy LLC,covering
          723.180 acres in T7S-R94W, Sections 17 and 18, Recorded in Book 1539, Page 174,
          Garfield County, Colorado. Q004955000.

      Attachment 28
          2002, by and between Audrey J, Jones, Trustee of the Russell E. and Audrey J. Jones
          Trust, U/T/A dated the 28th day of January, 1993 and Apollo Energy LLC,covering
          147.49 acres in T7S-R94W, 6th P.M., Section 17, Recorded in Boolc 1425,Page 438,
          Garfield County, Colorado. Q004950001.

      Attachment 29
          2002, by and between James R. Jones, Jr. and Lois D. Jones, husband and wife and
          Apollo Energy LLC, covering 147.49 acres in T7S-R94W, 6th P.M., Section 17,
          Recorded in Book 1425, Page 435, Garfield County, Colorado. Q004950002.
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                               Attachment 5/6
                 Debtor: Savage Resources, LLC                Case No:

     Attachment 30
          2002, by and between Fern Mae Jones, as single woman and Apollo Energy LLC,
          covering 147.49 acres in T7S-R94W,6th P.M., Section 17, Recorded in Book 1433,
          Page 108, Garfield County, Colorado. Q004950003.

     Attachment 31
          by and between Bernlclau Family LLLP and Hilltop 2F2 Ranch, LLLP and Apollo
          Energy LLC,covering 147.49 acres in T7S-R94W, 6th P.M., Section 17, Recorded in
          Book 1598, Page 948, Garfield County, Colorado. Q004950004.

      Attachment 32
          by and between Double B. Ranch,LLC and Apollo Energy LLC, covering 80 acres in
          T7S-R94W, 6th P.M., Section 18, Recorded in Book 1803, Page 462, Garfield
          County, Colorado. Q007197002.

      Attachment 33
          effective June 1, 2007,from USA BLM to Neil Romano, covering approximately
          50,48 acres in T7S-R94W,6th P.M., Section 30, Recorded in Reception No. 734040,
          Garfield County, Colorado. Q017024000.
      Attachment 34
          effective September 1, 2004, from USA BLM to Presco Inc., covering approximately
          12.27 acres in T7S-R94W,6th P.M., Sections 29 and 32, Recorded in Book        ,
          Page         ,Garfield County, Colorado. Q009755000.

      Attachment 35
          Lease dated August 1, 2003, by and between Battlement Creek Ranch, LLc, and
          Presco, Inc,, covering approximately 332.03 acres in T7S-R94W, 6th P.M., Section
          19, 30, and approximately 131.34 acres in T7S-R94W,6th P.M., Section 24, Recorded
          in Book 1553, Page 884, Garfield County, Colorado. Q009763000.

      Attachment 36
          2005, by and between Joan L. Savage and Savage Resources, LLC covering 80 acres
          in T7S-R94W, 6th P.M., Section 6, Recorded in Boolc No. 1767, Page 761, Garfield
          County, Colorado.

      Attachment 37
          2005, by and between Joan L. Savage and Savage Resources, LLC covering 80 acres
          in T7S-R94W, 6th P.M., Section 7, Recorded in Book No. 1767, Page 806, Garfield
          County, Colorado.
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                              Attachment 6/6
                Debtor: Savage Resources, LLC                Case No:

     Attachment 38
         2005, by and between Joan L. Savage and Savage Resources, LLC covering 240 acres
         in T6S-R94W, 6th P.M., Section 32, Recorded in Book No. 1767,Page 746, Garfield
         County, Colorado.
                   Case:16-18730-EEB Doc#:1 Filed:09/01/16                                                                                                                                                                                                                                    Entered:09/01/16 14:02:41 Page65 of 73




 Debtor name Savage Resources, LLC

 United States Bankruptcy Court for the: Colorado

 Case number (If known):



                                                                                                                                                                                                                                                                                                                                                                                                                                                              ❑ Check if this is an
                                                                                                                                                                                                                                                                                                                                                                                                                                                                amended filing
Official Form 206H
Schedule H: Codebtors                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach
the Additional Page to this page.


         1. Does the debtor have any codebtors?
 ~          ~ No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
                    ❑ Yes

         2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
            creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each
            schedule on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

                        Co(umn 1: Codebtor                                                                                                                                                                                                                                                                                                                   Column 2.' Creditor

                                                                                                                                                                                                                                                                                                                                                                                                                                                                               Check aU schedules
                                      Name                                                                                   Mailing address                                                                                                                                                                                                                Name                                                                                                               lhafapply:

 { 2.1                                                                                                                                                                                                                                                                                                                                                                                                                                                                          ❑ D
 I                                                                                                                            Street                                                                                                                                                                                                                                                                                                                                            ❑ E/F
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                O G


                                                                                                                              Cily                                                                                        Sfate                                                        ZIP Code

         2.2
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 ❑ D
                                                                                                                              Street                                                                                                                                                                                                                                                                                                                                             ❑ E/F
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 ❑ G


                                                                                                                             City                                                                                        State                                                        ZIP Code
                                                                                           ......................................................................................................................................................................................................................................................................................................................................................................................................................................................
     ...........................................................................................
         2.3
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  ❑ D
                                                                                                                               Street                                                                                                                                                                                                                                                                                                                                             ❑ E/F
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  ❑ G


     1                                                                                                                         City                                                                                        State                                                        ZIP_Code

         z.a
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  ❑ D
     ~                                                                                                                         Street                                                                                                                                                                                                                                                                                                                                             ❑ E/F
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  ❑ G


                 ..................................................................................                            City..................................................................................State..............................................ZIP Code

         _2.5
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   ❑ D
                                                                                                                                Street                                                                                                                                                                                                                                                                                                                                             ❑ EIF
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   ❑ G


                                                                                                                                City                                                                                        State                                                        ZIP Code

         2.6
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   ❑ D
     ~                                                                                                                          Street                                                                                                                                                                                                                                                                                                                                             ❑ E/F
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   ❑ G


     (                                                                                                                          Ciry                                                                                        State                                                         ZIP Code


 Official Form 206H                                                                                                                                                                                                 Schedule H: Codebtors                                                                                                                                                                                                                                             page 1 of 1
      Case:16-18730-EEB Doc#:1 Filed:09/01/16                                            Entered:09/01/16 14:02:41 Page66 of 73




 Debtor Name   Savage Resources LLC
 United States Bankruptcy Court for the:                 CO~OCadO

 Case number (If known):




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of anon-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual's position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            Declaration and signature



          am the president, another o~cer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

           have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


         0 Schedule A/8: Assets—Real and Personal Property (Official Form 206AlB)

          X❑ Schedule D: Creditors Who Have Claims Secured by Property (O~cial Form 206D)

         0 Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

         0 Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

         0 Schedule H: Codebtors (Official Form 206H)

         0 A Summary of Assets and Liabilities for Non-Individuals (Official Form 206—Summary)

          ❑ Amended Schedule


          ❑ Chapter 17 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)


          ❑ Other document that requires a




           declare under penalty of perjury that the foregoing is true and correct.


          Executed on      09/01/2016                       X s/Marshall Savage
                           MM / DD / YYYY                        Signature of individual signing on behalf of debtor



                                                                  Marshall Savage
                                                                 Printed name

                                                                  President and Managing Member
                                                                 Position or relationship to debtor



 O~cial Form 8202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
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                               Local Bankruptcy Form 1007-2.1

                                           COLORADO

    In re Savage Resources, LLC


                           Debtor                                 Case No.

    Address 14610 West Cornell Place                              Chapter 7
            Lakewood, Colorado 80228

    Last four digits of Social-Security or Individual
    Tax-Payer-Identification (ITIN)No(s).,(if any):

    Employer Tax-Identification (EIN)No(s).(if any):
    XX-XXXXXXX


             VERIFICATION OF CREDITOR ADDRESS MAILING MATRIX

           The above named debtor hereby verifies under penalty of perjury that the attached
    Creditor Address Mailing Matrix (list of creditors) is true and correct to the best of my
    knowledge.

    Dated: September 1, 2016                            By: s/Marshall Savage
                                                        Signature of debtor
                                                        Marshall Savage, President and Managing
                                                        Member
                                                        Printed name of debtor

                                                        By: ***E signature _joint debtor TE*
                                                        Signature ofjoint-debtor

                                                        Printed name ofjoint-debtor
                                                        Home address 14610 West Cornell Place
                                                        Lakewood, Colorado 80228
                                                        Telephone number ***Debtor telephone
                                                        TE***
                                                        Facsimile number ***Debtor fax TE*
                                                        E-mail address ***Debtor email address
                                                        TE***
Case:16-18730-EEB Doc#:1 Filed:09/01/16   Entered:09/01/16 14:02:41 Page68 of 73




                                   Akerman LLP
                                   Amy M. Leitch, Esq.
                                   50 North Laura Street, Suite 3100
                                   Jacksonville, FL 32202-3646


                                   Akerman LLP
                                   Melissa L. Cizmorris, Esq.
                                   1400 Wewatta Street, Suite 500
                                   Denver, CO 80202



                                   Ann B. Flanigan
                                   651 Orchard Avenue
                                   Santa Barbara, CA 93108-1522



                                   Betsy R. Freeman
                                   3415 S. Clayton Blvd.
                                   Englewood, CO 80113-7611



                                   Buffalo Basin Limited Partners
                                   P. O. Box 1926
                                   Rifle, CO 81650



                                   Caerus Oil and Gas LLC
                                   1001 Seventeenth Street, Suite 1600
                                   Denver, CO 80202



                                   Caerus Oil and Gas LLC
                                   1001 Seventeenth Street, Suite 1600
                                   Denver, CO 80202



                                   Charles F. Weller
                                   901 Amelia Street
                                   Sugar Land, TX 77478
Case:16-18730-EEB Doc#:1 Filed:09/01/16   Entered:09/01/16 14:02:41 Page69 of 73




                                   Colorado Department of Revenue
                                   P. 0. Box 17087
                                   Denver, CO 80217-0087



                                   Continuum Energy Services, LLC
                                   1323 E. 71st Street, Suite 300
                                   Tulsa, OK 74136



                                   Daniel P. Flanigan
                                   651 Orchard Avenue
                                   Santa Barbara, CA 93108-1522



                                   Daniel Savage
                                   14610 W. Cornell Place
                                   Lakewood, CO 80228



                                   Daniel W. Savage
                                   14610 W. Cornell Place
                                   Lakewood, CO 80228



                                   Daniel W. Savage Dynasty Trust
                                   14610 W. Cornell Place
                                   Lakewood, CO 80228



                                   Daniel W. Stroock
                                   55 Frost Street
                                   Cambridge, MA 02140


                                   Davis Graham & Stubbs LLP
                                   Laura Gill, Esq.
                                   1550 17th Street, Suite 500
                                   Denver, CO 80202


                                   Ellen S. Freeman
                                   3415 S. Clayton Blvd.
                                   Englewood, CO 80113-7611
Case:16-18730-EEB Doc#:1 Filed:09/01/16   Entered:09/01/16 14:02:41 Page70 of 73




                                   Enterprise Gas Processing, LLC
                                   1100 Louisiana Street
                                   Houston, TX 77002



                                   Enterprise Gas Processing, LLC
                                   1100 Louisana St.
                                   Houston, TX 77002



                                   Eva C. Weller
                                   901 Amelia Street
                                   Sugar Land, TX 77478



                                   Fairfield and Woods, P.C.
                                   Constance D. Smith, Esq.
                                   1801 California Street, Suite 2600
                                   Denver, CO 80202-2645



                                   Fort Worth-Alliant Insurance Services, I
                                   701 B Street, 6th Floor
                                   San Diego, CA 92101



                                   Harper Hofer & Assoc., LLC
                                   1580 Lincoln Street, Suite 1100
                                   Denver, CO 80203



                                   Joan L. Savage
                                   1122-293 Road
                                   Rifle, CO 81650



                                   John W. Savage
                                   P. 0. Box 1926
                                   Rifle, CO 81650



                                   John W. Savage Dynasty Trust
                                   P. O. Box 1926
                                   Rifle, CO 81650
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                                   DOJO Properties Ltd.
                                   P. 0. Box 1926
                                   Rifle, CO 81650



                                   Karsh Consulting PC
                                   650 S. Cherry Street, Suite 500
                                   Denver, CO 80246



                                   Kenneth A. Breitenbach
                                   410 17th Street, #1151
                                   Denver, CO 80202



                                   Laura S. Marion
                                   1844 Orchard Avenue
                                   Boulder, CO 80304



                                   Malu Lani Oil & Gas Company, Inc.
                                   P 0 Box 621128
                                   Littleton, CO 80162-1128



                                   Marshall Savage
                                   11710 N. Avondale Loop
                                   Hayden, ID 83835



                                   Marshall T. Savage
                                   11710 N. Avondale Loop
                                   Hayden, ID 83835



                                   Marshall T. Savage Dynasty Trust
                                   11710 N. Avondale Loop
                                   Hayden, ID 83835



                                   Middle Fork Minerals LLC
                                   P O Box 1989
                                   Casper, WY 82602
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                                  Midhill, a Partnership
                                  P 0 Box 2680
                                  Casper, WY 82602


                                   Omaha Beach LLC
                                   c/o Thomas Niebrugge
                                   9981 E. Progress Circle
                                   Greenwood Village, CO 80111


                                   Peter C. Freeman
                                   3415 S. Clayton Blvd.
                                   Englewood, CO 80113-7611



                                   Red Dog Systems, Inc.
                                   639 5th Avenue SW, Suite 1100
                                   Calgary, Canada AB T2P OM9



                                   Red Rock Gathering Company
                                   999 18th Street, Suite 34005
                                   Denver, CO 80202



                                   Red Rock Gathering Company, LLC
                                   999 18th Street, Suite 34005
                                   Denver, CO 80202



                                   Red Rock Gathering Company, LLC
                                   999 18th Street, Suite 34005
                                   Denver, CO 80202



                                   Roy E. Savage
                                   1122-293 Road
                                   Rifle, CO 81650



                                   Roy E. Savage Dynasty Trust
                                   1122-293 Road
                                   Rifle, CO 81650
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                                  Denver, CO 80203



                                   Susan Heiss
                                   P 0 Box 2680
                                   Casper, WY 82602



                                   Tami A. Savage
                                   11710 N. Avondale Loop
                                   Hayden, ID 83835



                                   Trinity Petroleum Management LLC
                                   1660 Lincoln Street, Suite 2100
                                   Denver, CO 80265



                                   Wells Fargo Bank, N.A. WF Business Direc
                                   P. 0. Box 29482
                                   Phoenix, AZ 85038-8650



                                   William Heiss
                                   P O Box 2680
                                   Casper, WY 82602



                                   WPX Energy Inc.
                                   21237 Network Place
                                   Chicago, IL 60673-1212



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                                   Chicago, IL 60673-1212
